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 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 EASTERN DISTRICT OF TEXAS

 Case number (if known):                                        Chapter you are filing under:
                                                                          Chapter 7
                                                                          Chapter 11
                                                                          Chapter 12
                                                                                                                                         Check if this is an
                                                                          Chapter 13
                                                                                                                                         amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                           12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                         About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                         Gabriel                                                        Adoracion
     government-issued picture
                                         First Name                                                     First Name
     identification (for example,
     your driver's license or            Marquez                                                        De Jesus
     passport).                          Middle Name                                                    Middle Name

                                         Boncales                                                       Boncales
     Bring your picture                  Last Name                                                      Last Name
     identification to your meeting
     with the trustee.                   Suffix (Sr., Jr., II, III)                                     Suffix (Sr., Jr., II, III)


2.   All other names you                 Gabe                                                           Dora
     have used in the last 8             First Name                                                     First Name
     years
                                         Middle Name                                                    Middle Name
     Include your married or
                                         Boncales                                                       Boncales
     maiden names.
                                         Last Name                                                      Last Name


3.   Only the last 4 digits of
     your Social Security                xxx – xx –                   0        9       4      6         xxx – xx –                   4         5        8      7
     number or federal                   OR                                                             OR
     Individual Taxpayer
     Identification number               9xx – xx –                                                     9xx – xx –
     (ITIN)




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Debtor 1     Gabriel Marquez Boncales
Debtor 2     Adoracion De Jesus Boncales                                                        Case number (if known)

                                       About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                        I have not used any business names or EINs.                 I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in            Business name                                                Business name
     the last 8 years
                                       Business name                                                Business name
     Include trade names and
     doing business as names
                                       Business name                                                Business name

                                                    –                                                           –
                                       EIN                                                          EIN

                                                    –                                                           –
                                       EIN                                                          EIN
5.   Where you live                                                                                 If Debtor 2 lives at a different address:

                                       13217 Mannheim Drive                                         13217 Manheim Drive
                                       Number       Street                                          Number      Street




                                       Frisco                          TX       75033               Frisco                         TX       75033
                                       City                            State    ZIP Code            City                           State    ZIP Code

                                       Denton                                                       Denton
                                       County                                                       County

                                       If your mailing address is different from                    If Debtor 2's mailing address is different
                                       the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                       court will send any notices to you at this                   will send any notices to you at this mailing
                                       mailing address.                                             address.

                                                                                                    13217 Manheim Drive
                                       Number       Street                                          Number      Street


                                       P.O. Box                                                     P.O. Box

                                                                                                    Frisco                         TX       75033
                                       City                            State    ZIP Code            City                           State    ZIP Code


6.   Why you are choosing              Check one:                                                   Check one:
     this district to file for
     bankruptcy                                Over the last 180 days before filing this                   Over the last 180 days before filing this
                                               petition, I have lived in this district longer              petition, I have lived in this district longer
                                               than in any other district.                                 than in any other district.

                                               I have another reason. Explain.                             I have another reason. Explain.
                                               (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the               Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you              for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                                    Chapter 7

                                              Chapter 11

                                              Chapter 12

                                              Chapter 13



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Debtor 1     Gabriel Marquez Boncales
Debtor 2     Adoracion De Jesus Boncales                                                  Case number (if known)

8.   How you will pay the fee               I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                            court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                            pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                            behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                            I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                            Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                            By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                            than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                            fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                            Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for                     No
     bankruptcy within the
     last 8 years?                          Yes.

                                      District Eastern District of Texas (Sherman)            When 06/30/2010         Case number 10-42120
                                                                                                     MM / DD / YYYY
                                      District                                                When                    Case number
                                                                                                     MM / DD / YYYY

                                      District                                                When                    Case number
                                                                                                     MM / DD / YYYY

10. Are any bankruptcy                      No
    cases pending or being
    filed by a spouse who is                Yes.
    not filing this case with
                                      Debtor                                                              Relationship to you
    you, or by a business
    partner, or by an                 District                                                When                    Case number,
    affiliate?                                                                                       MM / DD / YYYY   if known


                                      Debtor                                                              Relationship to you

                                      District                                                When                    Case number,
                                                                                                     MM / DD / YYYY   if known

11. Do you rent your                        No.    Go to line 12.
    residence?                              Yes. Has your landlord obtained an eviction judgment against you?

                                                        No. Go to line 12.
                                                        Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                        and file it as part of this bankruptcy petition.




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
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Debtor 1     Gabriel Marquez Boncales
Debtor 2     Adoracion De Jesus Boncales                                                     Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor                No. Go to Part 4.
    of any full- or part-time                Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                   Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as                  Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                      City                                                     State         ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                   Check the appropriate box to describe your business:
    to this petition.
                                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                          None of the above

13. Are you filing under               If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                  can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and                most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business           or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                             No.   I am not filing under Chapter 11.

                                             No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                   the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                    Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                  Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                   No
    property that poses or is                Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                        If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or                 Where is the property?
    a building that needs urgent                                              Number   Street
    repairs?



                                                                              City                                     State         ZIP Code




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Debtor 1     Gabriel Marquez Boncales
Debtor 2     Adoracion De Jesus Boncales                                                  Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court           About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you              You must check one:                                          You must check one:
    have received a            I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about             counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                     filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.                certificate of completion.                                   certificate of completion.
                                Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires            plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                                I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                                counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                                filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                                a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully             Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the            you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.          plan, if any.                                                plan, if any.
    If you cannot do so,        I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible        services from an approved agency, but was                    services from an approved agency, but was
    to file.                    unable to obtain those services during the 7                 unable to obtain those services during the 7
                                days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,         circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can               waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose               To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee         requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your          efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin         were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities       bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                      required you to file this case.                              required you to file this case.

                                Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                                briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                                If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                                still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                                You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                                along with a copy of the payment plan you                    along with a copy of the payment plan you
                                developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                                may be dismissed.                                            may be dismissed.

                                Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                                for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                                I am not required to receive a briefing about                I am not required to receive a briefing about
                                credit counseling because of:                                credit counseling because of:
                                    Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                   deficiency that makes me                                     deficiency that makes me
                                                   incapable of realizing or making                             incapable of realizing or making
                                                   rational decisions about finances.                           rational decisions about finances.
                                    Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                   to be unable to participate in a                             to be unable to participate in a
                                                   briefing in person, by phone, or                             briefing in person, by phone, or
                                                   through the internet, even after I                           through the internet, even after I
                                                   reasonably tried to do so.                                   reasonably tried to do so.
                                    Active duty. I am currently on active military               Active duty. I am currently on active military
                                                 duty in a military combat zone.                              duty in a military combat zone.
                                If you believe you are not required to receive a             If you believe you are not required to receive a
                                briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                                motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


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Debtor 1     Gabriel Marquez Boncales
Debtor 2     Adoracion De Jesus Boncales                                                  Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you         16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                     as "incurred by an individual primarily for a personal, family, or household purpose."
                                                    No. Go to line 16b.
                                                    Yes. Go to line 17.

                                      16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                              money for a business or investment or through the operation of the business or investment.
                                                   No. Go to line 16c.
                                                   Yes. Go to line 17.

                                      16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                               No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after               Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                             No
    are paid that funds will be
                                                        Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                    1-49                             1,000-5,000                        25,001-50,000
    you estimate that you                    50-99                            5,001-10,000                       50,001-100,000
    owe?                                     100-199                          10,001-25,000                      More than 100,000
                                             200-999

19. How much do you                          $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to                  $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                                $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

20. How much do you                          $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to             $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                      $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




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Debtor 1     Gabriel Marquez Boncales
Debtor 2     Adoracion De Jesus Boncales                                                   Case number (if known)


 Part 7:      Sign Below
For you                               I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                      and correct.

                                      If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                      or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                      proceed under Chapter 7.

                                      If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                      fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                      I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                      I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                      connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                      or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                      X /s/ Gabriel Marquez Boncales                              X /s/ Adoracion De Jesus Boncales
                                            Gabriel Marquez Boncales, Debtor 1                       Adoracion De Jesus Boncales, Debtor 2

                                            Executed on 06/28/2019                                   Executed on 06/28/2019
                                                        MM / DD / YYYY                                           MM / DD / YYYY




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Debtor 1     Gabriel Marquez Boncales
Debtor 2     Adoracion De Jesus Boncales                                                   Case number (if known)

For your attorney, if you are         I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one                    eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                      relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by         the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need          certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.                    is incorrect.



                                      X /s/ David S. Kohm                                                   Date 06/28/2019
                                            Signature of Attorney for Debtor                                     MM / DD / YYYY


                                            David S. Kohm
                                            Printed name
                                            David S Kohm
                                            Firm Name
                                            1414 W. Randol Mill Rd., Suite 118
                                            Number         Street




                                            Arlington                                               TX              76012
                                            City                                                    State           ZIP Code


                                            Contact phone (817) 861-8400                   Email address michaelb@attorneykohm.com


                                            11658563                                                TX
                                            Bar number                                              State




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                          page 8
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  Fill in this information to identify your case and this filing:
  Debtor 1               Gabriel                     Marquez              Boncales
                         First Name                  Middle Name          Last Name

  Debtor 2            Adoracion                      De Jesus             Boncales
  (Spouse, if filing) First Name                     Middle Name          Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

  Case number
                                                                                                                                    Check if this is an
  (if known)
                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                       What is the property?                             Do not deduct secured claims or exemptions. Put the
13217 Mannheim Drive                                       Check all that apply.                             amount of any secured claims on Schedule D:
Street address, if available, or other description             Single-family home                            Creditors Who Have Claims Secured by Property.
                                                               Duplex or multi-unit building                 Current value of the            Current value of the
                                                               Condominium or cooperative                    entire property?                portion you own?
Frisco                           TX       75033                Manufactured or mobile home                               $361,000.00                  $361,000.00
City                             State    ZIP Code             Land
                                                               Investment property                           Describe the nature of your ownership
                                                               Timeshare                                     interest (such as fee simple, tenancy by the
Denton                                                                                                       entireties, or a life estate), if known.
                                                               Other
County
                                                                                                             Fee Simple Owner
                                                           Who has an interest in the property?
Homestead
                                                           Check one.
Legal: GRAYHAWK PH VI & VII BLK
                                                               Debtor 1 only                                      Check if this is community property
OO LO
                                                               Debtor 2 only                                      (see instructions)
T 31
                                                               Debtor 1 and Debtor 2 only
                                                               At least one of the debtors and another

                                                           Other information you wish to add about this item, such as local
                                                           property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................            $361,000.00


  Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes




Official Form 106A/B                                                    Schedule A/B: Property                                                               page 1
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Debtor 1         Gabriel Marquez Boncales
Debtor 2         Adoracion De Jesus Boncales                                                         Case number (if known)


3.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                      Chevrolet                   Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                     Cruze
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                      2018
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage:                                        At least one of the debtors and another            $19,000.00                            $19,000.00
Other information:
2018 Chevrolet Cruze                                        Check if this is community property
                                                            (see instructions)
3.2.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                      Chevrolet                   Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                     Cruz
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                      2019
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage:                                        At least one of the debtors and another            $21,000.00                            $21,000.00
Other information:
2019 Chevrolet Cruz                                         Check if this is community property
                                                            (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................             $40,000.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               See continuation page(s).                                                                                              $1,110.00

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               See continuation page(s).                                                                                                $225.00

8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............

9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 2
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Debtor 1          Gabriel Marquez Boncales
Debtor 2          Adoracion De Jesus Boncales                                                                                           Case number (if known)

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............
                                Gun                                                                                                                                                                               $200.00

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                Clothes                                                                                                                                                                           $100.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                Jewelry                                                                                                                                                                           $200.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............
                                Dogs(3)                                                                                                                                                                                 $3.00

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                          $1,838.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                    Institution name:

             17.1.        Checking account:                      Chase Bank Checking account #6280                                                                                                                $100.00
             17.2.        Checking account:                      Bank of America Checking account # 5984                                                                                                          $100.00
             17.3.        Savings account:                       Bank of America Savings account # 3543                                                                                                                $50.00
             17.4.        Other financial account: Texans Credit Union Share account # 7859                                                                                                                            $50.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
            Yes.............................. Institution or issuer name:



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Debtor 1         Gabriel Marquez Boncales
Debtor 2         Adoracion De Jesus Boncales                                                          Case number (if known)

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                     % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:         Institution name:
                                           Retirement account:      Empower Retirement account Torchmark Corp.                                    $10,000.00
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                     Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them




Official Form 106A/B                                                      Schedule A/B: Property                                                       page 4
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Debtor 1        Gabriel Marquez Boncales
Debtor 2        Adoracion De Jesus Boncales                                                          Case number (if known)

Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                                     Federal:
           about them, including whether
           you already filed the returns                                                                                      State:
           and the tax years.....................................
                                                                                                                              Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                        Alimony:

                                                                                                                 Maintenance:

                                                                                                                 Support:

                                                                                                                 Divorce settlement:

                                                                                                                 Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................     Company name:                                Beneficiary:                        Surrender or refund value:

                                                  Pacific Term Life (no cash value)                                                                     $0.00
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
           No
           Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
           No
           Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
           No
           Yes. Describe each claim..............

35. Any financial assets you did not already list

           No
           Yes. Give specific information




Official Form 106A/B                                                     Schedule A/B: Property                                                          page 5
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Debtor 1         Gabriel Marquez Boncales
Debtor 2         Adoracion De Jesus Boncales                                                                         Case number (if known)

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................    $10,300.00


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................

41. Inventory

            No
            Yes. Describe................

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6
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Debtor 1          Gabriel Marquez Boncales
Debtor 2          Adoracion De Jesus Boncales                                                                        Case number (if known)

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................

50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                            $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
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Debtor 1           Gabriel Marquez Boncales
Debtor 2           Adoracion De Jesus Boncales                                                                                Case number (if known)


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $361,000.00

56. Part 2: Total vehicles, line 5                                                                                  $40,000.00

57. Part 3: Total personal and household items, line 15                                                               $1,838.00

58. Part 4: Total financial assets, line 36                                                                         $10,300.00

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................             $52,138.00              property total                 +           $52,138.00



63. Total of all property on Schedule A/B.                                                                                                                                                  $413,138.00
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                   page 8
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Debtor 1     Gabriel Marquez Boncales
Debtor 2     Adoracion De Jesus Boncales                                             Case number (if known)


6.   Household goods and furnishings (details):

     Stove                                                                                                                      $50.00

     Microwave                                                                                                                  $10.00

     Refrigerator                                                                                                               $50.00

     Dishwasher                                                                                                                 $50.00

     Dryer                                                                                                                      $50.00

     Living Room Furniture                                                                                                     $200.00

     Bedroom Furniture                                                                                                         $300.00

     Dining Room Furniture                                                                                                     $200.00

     Plates, Silverware, Glassware, Cookingware                                                                                $150.00

     Household Tools                                                                                                            $50.00

7.   Electronics (details):

     TV(2)                                                                                                                     $100.00

     Computer                                                                                                                  $100.00

     DVD Player                                                                                                                 $25.00




Official Form 106A/B                                     Schedule A/B: Property                                                   page 9
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 Fill in this information to identify your case:
 Debtor 1              Gabriel               Marquez                Boncales
                       First Name            Middle Name            Last Name
 Debtor 2            Adoracion               De Jesus               Boncales
 (Spouse, if filing) First Name              Middle Name            Last Name

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS
                                                                                                                        Check if this is an
 Case number                                                                                                            amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                   04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?                Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on              Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                      the portion you      exemption you claim
                                                           own
                                                           Copy the value from Check only one box for
                                                           Schedule A/B        each exemption


Brief description:                                           $361,000.00                 $150,403.80         Const. art. 16 §§ 50, 51, Texas
Homestead                                                                            100% of fair market     Prop. Code §§ 41.001-.002
Legal: GRAYHAWK PH VI & VII BLK OO                                                   value, up to any
LO                                                                                   applicable statutory
T 31                                                                                 limit
Line from Schedule A/B: 1.1

Brief description:                                            $19,000.00                     $0.00           Tex. Prop. Code §§ 42.001(a),
2018 Chevrolet Cruze                                                                 100% of fair market     42.002(a)(9)
                                                                                     value, up to any
Line from Schedule A/B:        3.1
                                                                                     applicable statutory
                                                                                     limit




3.   Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                                 Schedule C: The Property You Claim as Exempt                                                page 1
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Debtor 1      Gabriel Marquez Boncales
Debtor 2      Adoracion De Jesus Boncales                                                  Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on         Current value of      Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property                 the portion you       exemption you claim
                                                      own
                                                      Copy the value from Check only one box for
                                                      Schedule A/B        each exemption

Brief description:                                        $21,000.00                    $0.00           Tex. Prop. Code §§ 42.001(a),
2019 Chevrolet Cruz                                                              100% of fair market    42.002(a)(9)
                                                                                 value, up to any
Line from Schedule A/B:       3.2
                                                                                 applicable statutory
                                                                                 limit

Brief description:                                            $50.00                   $50.00           Tex. Prop. Code §§ 42.001(a),
Stove                                                                            100% of fair market    42.002(a)(1)
                                                                                 value, up to any
Line from Schedule A/B:        6
                                                                                 applicable statutory
                                                                                 limit

Brief description:                                            $10.00                   $10.00           Tex. Prop. Code §§ 42.001(a),
Microwave                                                                        100% of fair market    42.002(a)(1)
                                                                                 value, up to any
Line from Schedule A/B:        6
                                                                                 applicable statutory
                                                                                 limit

Brief description:                                            $50.00                   $50.00           Tex. Prop. Code §§ 42.001(a),
Refrigerator                                                                     100% of fair market    42.002(a)(1)
                                                                                 value, up to any
Line from Schedule A/B:        6
                                                                                 applicable statutory
                                                                                 limit

Brief description:                                            $50.00                   $50.00           Tex. Prop. Code §§ 42.001(a),
Dishwasher                                                                       100% of fair market    42.002(a)(1)
                                                                                 value, up to any
Line from Schedule A/B:        6
                                                                                 applicable statutory
                                                                                 limit

Brief description:                                            $50.00                   $50.00           Tex. Prop. Code §§ 42.001(a),
Dryer                                                                            100% of fair market    42.002(a)(1)
                                                                                 value, up to any
Line from Schedule A/B:        6
                                                                                 applicable statutory
                                                                                 limit

Brief description:                                            $200.00                 $200.00           Tex. Prop. Code §§ 42.001(a),
Living Room Furniture                                                            100% of fair market    42.002(a)(1)
                                                                                 value, up to any
Line from Schedule A/B:        6
                                                                                 applicable statutory
                                                                                 limit

Brief description:                                            $300.00                 $300.00           Tex. Prop. Code §§ 42.001(a),
Bedroom Furniture                                                                100% of fair market    42.002(a)(1)
                                                                                 value, up to any
Line from Schedule A/B:        6
                                                                                 applicable statutory
                                                                                 limit

Brief description:                                            $200.00                 $200.00           Tex. Prop. Code §§ 42.001(a),
Dining Room Furniture                                                            100% of fair market    42.002(a)(1)
                                                                                 value, up to any
Line from Schedule A/B:        6
                                                                                 applicable statutory
                                                                                 limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                            page 2
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Debtor 1      Gabriel Marquez Boncales
Debtor 2      Adoracion De Jesus Boncales                                                  Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on         Current value of      Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property                 the portion you       exemption you claim
                                                      own
                                                      Copy the value from Check only one box for
                                                      Schedule A/B        each exemption

Brief description:                                            $150.00                 $150.00           Tex. Prop. Code §§ 42.001(a),
Plates, Silverware, Glassware,                                                   100% of fair market    42.002(a)(1)
Cookingware                                                                      value, up to any
Line from Schedule A/B:  6                                                       applicable statutory
                                                                                 limit

Brief description:                                            $50.00                   $50.00           Tex. Prop. Code §§ 42.001(a),
Household Tools                                                                  100% of fair market    42.002(a)(1)
                                                                                 value, up to any
Line from Schedule A/B:        6
                                                                                 applicable statutory
                                                                                 limit

Brief description:                                            $100.00                 $100.00           Tex. Prop. Code §§ 42.001(a),
TV(2)                                                                            100% of fair market    42.002(a)(1)
                                                                                 value, up to any
Line from Schedule A/B:        7
                                                                                 applicable statutory
                                                                                 limit

Brief description:                                            $100.00                 $100.00           Tex. Prop. Code §§ 42.001(a),
Computer                                                                         100% of fair market    42.002(a)(1)
                                                                                 value, up to any
Line from Schedule A/B:        7
                                                                                 applicable statutory
                                                                                 limit

Brief description:                                            $25.00                   $25.00           Tex. Prop. Code §§ 42.001(a),
DVD Player                                                                       100% of fair market    42.002(a)(1)
                                                                                 value, up to any
Line from Schedule A/B:        7
                                                                                 applicable statutory
                                                                                 limit

Brief description:                                            $200.00                 $200.00           Tex. Prop. Code §§ 42.001(a),
Gun                                                                              100% of fair market    42.002(a)(7)
                                                                                 value, up to any
Line from Schedule A/B:       10
                                                                                 applicable statutory
                                                                                 limit

Brief description:                                            $100.00                 $100.00           Tex. Prop. Code §§ 42.001(a),
Clothes                                                                          100% of fair market    42.002(a)(5)
                                                                                 value, up to any
Line from Schedule A/B:       11
                                                                                 applicable statutory
                                                                                 limit

Brief description:                                            $200.00                 $200.00           Tex. Prop. Code §§ 42.001(a),
Jewelry                                                                          100% of fair market    42.002(a)(6)
                                                                                 value, up to any
Line from Schedule A/B:       12
                                                                                 applicable statutory
                                                                                 limit

Brief description:                                             $3.00                    $3.00           Tex. Prop. Code §§ 42.001(a),
Dogs(3)                                                                          100% of fair market    42.002(a)(11)
                                                                                 value, up to any
Line from Schedule A/B:       13
                                                                                 applicable statutory
                                                                                 limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                            page 3
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Debtor 1      Gabriel Marquez Boncales
Debtor 2      Adoracion De Jesus Boncales                                                 Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on         Current value of     Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property                 the portion you      exemption you claim
                                                      own
                                                      Copy the value from Check only one box for
                                                      Schedule A/B        each exemption

Brief description:                                        $10,000.00               $10,000.00          11 U.S.C. § 522(b)(3)(C)
Empower Retirement account Torchmark                                            100% of fair market
Corp.                                                                           value, up to any
Line from Schedule A/B: 21                                                      applicable statutory
                                                                                limit

Brief description:                                            $0.00                    $0.00           Tex. Ins. Code §§ 1108.001,
Pacific Term Life (no cash value)                                               100% of fair market    1108.051
                                                                                value, up to any
Line from Schedule A/B:       31
                                                                                applicable statutory
                                                                                limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                           page 4
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                                                 UNITED STATES BANKRUPTCY COURT
                                                     EASTERN DISTRICT OF TEXAS
                                                         SHERMAN DIVISION
  IN RE: Gabriel Marquez Boncales                                                                CASE NO
         Adoracion De Jesus Boncales
                                                                                                 CHAPTER        7

                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                         Scheme Selected: State
                                                                Gross                 Total             Total         Total Amount     Total Amount
No.     Category                                        Property Value        Encumbrances             Equity               Exempt      Non-Exempt


1.      Real property                                    $361,000.00            $210,596.20      $150,403.80          $150,403.80            $0.00

3.      Motor vehicles (cars, etc.)                       $40,000.00             $42,845.41             $0.00               $0.00            $0.00

4.      Water/Aircraft, Motor Homes,                           $0.00                   $0.00            $0.00               $0.00            $0.00
        Rec. veh. and access.

6.      Household goods and furnishings                    $1,110.00                   $0.00        $1,110.00           $1,110.00            $0.00

7.      Electronics                                          $225.00                   $0.00         $225.00              $225.00            $0.00

8.      Collectibles of value                                  $0.00                   $0.00            $0.00               $0.00            $0.00

9.      Equipment for sports and hobbies                       $0.00                   $0.00            $0.00               $0.00            $0.00

10.     Firearms                                             $200.00                   $0.00         $200.00              $200.00            $0.00

11.     Clothes                                              $100.00                   $0.00         $100.00              $100.00            $0.00

12.     Jewelry                                              $200.00                   $0.00         $200.00              $200.00            $0.00

13.     Non-farm animals                                       $3.00                   $0.00            $3.00               $3.00            $0.00

14.     Unlisted pers. and household items-                    $0.00                   $0.00            $0.00               $0.00            $0.00
        incl. health aids

16.     Cash                                                   $0.00                   $0.00            $0.00               $0.00            $0.00

17.     Deposits of money                                    $300.00                   $0.00         $300.00                $0.00          $300.00

18.     Bonds, mutual funds or publicly                        $0.00                   $0.00            $0.00               $0.00            $0.00
        traded stocks

19.     Non-pub. traded stock and int.                         $0.00                   $0.00            $0.00               $0.00            $0.00
        in businesses

20.     Govt. and corp. bonds and other                        $0.00                   $0.00            $0.00               $0.00            $0.00
        instruments

21.     Retirement or pension accounts                    $10,000.00                   $0.00       $10,000.00          $10,000.00            $0.00

22.     Security deposits and prepayments                      $0.00                   $0.00            $0.00               $0.00            $0.00

23.     Annuities                                              $0.00                   $0.00            $0.00               $0.00            $0.00

24.     Interests in an education IRA                          $0.00                   $0.00            $0.00               $0.00            $0.00

25.     Trusts, equit. or future int. (not in line 1)          $0.00                   $0.00            $0.00               $0.00            $0.00

26.     Patents, copyrights, and other                         $0.00                   $0.00            $0.00               $0.00            $0.00
        intellectual prop.
27.     Licenses, franchises, other                            $0.00                   $0.00            $0.00               $0.00            $0.00
        general intangibles

28.     Tax refunds owed to you                                $0.00                   $0.00            $0.00               $0.00            $0.00
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                                               UNITED STATES BANKRUPTCY COURT
                                                   EASTERN DISTRICT OF TEXAS
                                                       SHERMAN DIVISION
  IN RE: Gabriel Marquez Boncales                                                             CASE NO
         Adoracion De Jesus Boncales
                                                                                              CHAPTER        7

                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                                Continuation Sheet # 1
Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                      Scheme Selected: State
                                                            Gross                  Total             Total         Total Amount     Total Amount
No.     Category                                    Property Value         Encumbrances             Equity               Exempt      Non-Exempt


29.     Family support                                      $0.00                   $0.00           $0.00                $0.00            $0.00

30.     Other amounts someone owes you                      $0.00                   $0.00           $0.00                $0.00            $0.00

31.     Interests in insurance policies                     $0.00                   $0.00           $0.00                $0.00            $0.00

32.     Any int. in prop. due you from                      $0.00                   $0.00           $0.00                $0.00            $0.00
        someone who has died

33.     Claims vs. third parties, even                      $0.00                   $0.00           $0.00                $0.00            $0.00
        if no demand

34.     Other contin. and unliq. claims                     $0.00                   $0.00           $0.00                $0.00            $0.00
        of every nature

35.     Any financial assets you did                        $0.00                   $0.00           $0.00                $0.00            $0.00
        not already list

38.     Accounts rec. or commissions you                    $0.00                   $0.00           $0.00                $0.00            $0.00
        already earned

39.     Office equipment, furnishings,                      $0.00                   $0.00           $0.00                $0.00            $0.00
        and supplies

40.     Mach., fixt., equip., bus. suppl.,                  $0.00                   $0.00           $0.00                $0.00            $0.00
        tools of trade

41.     Inventory                                           $0.00                   $0.00           $0.00                $0.00            $0.00

42.     Interests in partnerships or                        $0.00                   $0.00           $0.00                $0.00            $0.00
        joint ventures

43.     Customer and mailing lists, or                      $0.00                   $0.00           $0.00                $0.00            $0.00
        other compilations

44.     Any business-related property not                   $0.00                   $0.00           $0.00                $0.00            $0.00
        already listed

47.     Farm animals                                        $0.00                   $0.00           $0.00                $0.00            $0.00

48.     Crops--either growing or harvested                  $0.00                   $0.00           $0.00                $0.00            $0.00

49.     Farm/fishing equip., impl., mach.,                  $0.00                   $0.00           $0.00                $0.00            $0.00
        fixt., tools

50.     Farm and fishing supplies, chemicals,               $0.00                   $0.00           $0.00                $0.00            $0.00
        and feed

51.     Farm/commercial fishing-related prop.               $0.00                   $0.00           $0.00                $0.00            $0.00
        not listed

53.     Any other property of any kind not                  $0.00                   $0.00           $0.00                $0.00            $0.00
        already listed

                    TOTALS:                           $413,138.00             $253,441.61     $162,541.80          $162,241.80          $300.00
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                                              UNITED STATES BANKRUPTCY COURT
                                                  EASTERN DISTRICT OF TEXAS
                                                      SHERMAN DIVISION
  IN RE: Gabriel Marquez Boncales                                                              CASE NO
         Adoracion De Jesus Boncales
                                                                                              CHAPTER        7

                           SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                               Continuation Sheet # 2




Surrendered Property:
The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for purposes
of this analysis. The below listed items are to be returned to the lienholder.

  Property Description                                                                     Market Value                    Lien               Equity

Real Property
(None)
Personal Property
(None)


                   TOTALS:                                                                        $0.00                    $0.00                  $0.00


Non-Exempt Property by Item:
The following property, or a portion thereof, is non-exempt.

  Property Description                                                 Market Value               Lien            Equity       Non-Exempt Amount

Real Property
(None)
Personal Property

Bank of America Savings account # 3543                                         $50.00                             $50.00                     $50.00

Chase Bank Checking account #6280                                            $100.00                             $100.00                    $100.00

Bank of America Checking account # 5984                                      $100.00                             $100.00                    $100.00

Texans Credit Union Share account # 7859                                       $50.00                             $50.00                     $50.00


                   TOTALS:                                                    $300.00            $0.00           $300.00                    $300.00
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                                        UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF TEXAS
                                                SHERMAN DIVISION
IN RE: Gabriel Marquez Boncales                                                        CASE NO
       Adoracion De Jesus Boncales
                                                                                       CHAPTER      7

                      SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                         Continuation Sheet # 3




                                                          Summary
       A. Gross Property Value (not including surrendered property)                                        $413,138.00

       B. Gross Property Value of Surrendered Property                                                           $0.00

       C. Total Gross Property Value (A+B)                                                                 $413,138.00

       D. Gross Amount of Encumbrances (not including surrendered property)                                $253,441.61

       E. Gross Amount of Encumbrances on Surrendered Property                                                   $0.00

       F. Total Gross Encumbrances (D+E)                                                                   $253,441.61

       G. Total Equity (not including surrendered property) / (A-D)                                        $162,541.80

       H. Total Equity in surrendered items (B-E)                                                                $0.00

       I. Total Equity (C-F)                                                                               $162,541.80

       J. Total Exemptions Claimed                                                                         $162,241.80

       K. Total Non-Exempt Property Remaining (G-J)                                                           $300.00
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  Fill in this information to identify your case:
  Debtor 1              Gabriel                Marquez              Boncales
                        First Name             Middle Name          Last Name

  Debtor 2            Adoracion                De Jesus             Boncales
  (Spouse, if filing) First Name               Middle Name          Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one              Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As           Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the          Do not deduct the      that supports this     portion
        creditor's name.                                                                  value of collateral    claim                  If any

  2.1                                             Describe the property that
                                                  secures the claim:                            $23,678.41              $21,000.00            $2,678.41
Ally Financial
Creditor's name
                                                  2019 Chevrolet Cruz
P.O. Box 380901
Number       Street


                                                  As of the date you file, the claim is: Check all that apply.
                                                      Contingent
Bloomington              MN      55438                Unliquidated
City                     State   ZIP Code
                                                      Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Retail installment contract and security agreement
   to a community debt
Date debt was incurred                            Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                               $23,678.41

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                            page 1
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Debtor 1      Gabriel Marquez Boncales
Debtor 2      Adoracion De Jesus Boncales                                                  Case number (if known)

                  Additional Page                                                      Column A               Column B              Column C
  Part 1:                                                                              Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                       Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                       value of collateral    claim                 If any

  2.2                                          Describe the property that
                                               secures the claim:                           $207,596.20             $361,000.00
Bayview Loan Servicing                         Homestead
Creditor's name
P.O. Box 650091
Number     Street


                                               As of the date you file, the claim is: Check all that apply.
                                                   Contingent
Dallas                  TX      75265-0091         Unliquidated
City                    State   ZIP Code
                                                   Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Fee Simple
   to a community debt
Date debt was incurred                         Last 4 digits of account number        8     3    9    1

  2.3                                          Describe the property that
                                               secures the claim:                            $19,167.00              $19,000.00           $167.00
GM Financial
Creditor's name
                                               2018 Chevrolet Cruze
Bankruptcy Department
Number     Street
P.O. Box 183853
                                               As of the date you file, the claim is: Check all that apply.
                                                   Contingent
Arlington               TX      76096              Unliquidated
City                    State   ZIP Code
                                                   Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Retail installment contract and security agreement
   to a community debt
Date debt was incurred                         Last 4 digits of account number        9     9    9    2




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $226,763.20

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 2
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Debtor 1      Gabriel Marquez Boncales
Debtor 2      Adoracion De Jesus Boncales                                                  Case number (if known)

                  Additional Page                                                      Column A               Column B              Column C
  Part 1:                                                                              Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                       Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                       value of collateral    claim                 If any

  2.4                                          Describe the property that
                                               secures the claim:                              $3,000.00            $361,000.00
Grayhawk Association of HOA                    Homestead
Creditor's name
c/o SBB Management
Number     Street
8360 LBJ Frwy, Ste. 300
                                               As of the date you file, the claim is: Check all that apply.
                                                   Contingent
Dallas                  TX      75243              Unliquidated
City                    State   ZIP Code
                                                   Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Home Owners Association Dues
   to a community debt
Date debt was incurred                         Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $3,000.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                          $253,441.61

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 3
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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                              Case number (if known)

 Part 2:        List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and
then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Part 1,
list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or
submit this page.


  1
        Denton County Central Appraisal District                               On which line in Part 1 did you enter the creditor?
        Name
        3911 Morse Street                                                      Last 4 digits of account number
        Number       Street
        P.O. Box 50747


        Denton                                   TX        76206
        City                                     State     ZIP Code

  2
        Denton County Tax Assessor Collector                                   On which line in Part 1 did you enter the creditor?
        Name
        P.O. Box 90223                                                         Last 4 digits of account number        2    D    E      N
        Number       Street




        Denton                                   TX        76202-5223
        City                                     State     ZIP Code




Official Form 106D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                     page 4
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  Fill in this information to identify your case:
  Debtor 1              Gabriel                 Marquez               Boncales
                        First Name              Middle Name           Last Name

  Debtor 2            Adoracion                 De Jesus              Boncales
  (Spouse, if filing) First Name                Middle Name           Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

  Case number
                                                                                                                         Check if this is an
  (if known)
                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                    12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim        Priority              Nonpriority
                                                                                                                         amount                amount

     2.1


Priority Creditor's Name                                      Last 4 digits of account number
                                                              When was the debt incurred?
Number       Street
                                                              As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.                             Type of PRIORITY unsecured claim:
     Debtor 1 only                                               Domestic support obligations
     Debtor 2 only                                               Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                                  Claims for death or personal injury while you were
     At least one of the debtors and another                     intoxicated
     Check if this claim is for a community debt                 Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                      Case number (if known)

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                               $0.00
Alliance One Receivables Management, Inc                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
6565 Kimball Drive, Suite 200
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Gig Harbor                      WA       98335
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Collecting for NTTA
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                               $0.00
AMCA                                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
4 Westchester Plaza, Ste. 110
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Elmsford                        NY       10523
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Collecting for Clinical Pathology Associates
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 2
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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                            Total claim
previous page.

   4.3                                                                                                                                           $259.64
Aptive Environmental, LLC                                   Last 4 digits of account number       3    8    5    6
Nonpriority Creditor's Name
                                                            When was the debt incurred?
1225 E Crosby Rd Ste A14
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Carrollton                      TX       75006-8524
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Services
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                             $0.00
ARM Solutions, Inc.                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 3666
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Camarillo                       CA       93011
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Collecting for Aptive Environmental, LLC
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                                           $197.08
Baylor Scott & White Medical Center                         Last 4 digits of account number       6    0    1    6
Nonpriority Creditor's Name
                                                            When was the debt incurred?
5601 Warren Parkway
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Frisco                          TX       75034
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Medical Bills
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                              page 3
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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                            Total claim
previous page.

   4.6                                                                                                                                         $1,857.71
Baylor Scott & White Medical Center                         Last 4 digits of account number       0    2    2    9
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 847051
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Dallas                          TX       75284
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Medical Bills
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                                           $978.07
Best Buy/Citibank, N.A.                                     Last 4 digits of account number       2    6    9    6
Nonpriority Creditor's Name
                                                            When was the debt incurred?
PO Box 6497
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Sioux Falls                     SD       57117
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                           $611.00
Capital One Bank (USA), N.A.                                Last 4 digits of account number       8    8    3    2
Nonpriority Creditor's Name
                                                            When was the debt incurred?
15000 Capital One Drive
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Richmond                        VA       23238
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                            Total claim
previous page.

   4.9                                                                                                                                         $2,052.00
Capital One Bank (USA), N.A.                                Last 4 digits of account number       9    1    3    5
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 60599
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
City of Industry                CA       91716-0599
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                                         $2,094.92
Capital One Bank (USA), N.A.                                Last 4 digits of account number       9    2    2    7
Nonpriority Creditor's Name
                                                            When was the debt incurred?
PO Box 85057
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Richmond                        VA       23285-5057
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Overdraft Fees
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                                           $634.85
Capital One Bank (USA), N.A.                                Last 4 digits of account number       5    4    1    6
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 30285
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Salt Lake City                  UT       84130-0285
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                            Total claim
previous page.

  4.12                                                                                                                                           $900.81
Capital One Bank (USA), N.A.                                Last 4 digits of account number       6    9    5    8
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 30281
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Salt Lake City                  UT       84130-0281
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                                         $3,240.60
CashNetUSA                                                  Last 4 digits of account number       5    5    7    9
Nonpriority Creditor's Name
                                                            When was the debt incurred?
175 W. Jackson Blvd., Suite 1000
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Chicago                         IL       60604
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Payday Loan
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                                             $0.00
Cavalry Investments LLC                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 27288
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Tempe                           AZ       85285
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Collecting for Synchrony Bank
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                            Total claim
previous page.

  4.15                                                                                                                                           $219.50
Clinical Pathology Associates                               Last 4 digits of account number       5    3    5    2
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 141699
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Austin                          TX       78714-1699
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Medical Bills
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                                            $61.50
Clinical Pathology Associates                               Last 4 digits of account number       1    4    7    4
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 141669
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Austin                          TX       78714-1669
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Medical Bills
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                            Total claim
previous page.

  4.17                                                                                                                                             $0.00
County Court at Law 2                                       Last 4 digits of account number       2    3    2    6
Nonpriority Creditor's Name
                                                            When was the debt incurred?
Denton County, Texas
Number        Street                                        As of the date you file, the claim is: Check all that apply.
1450 East McKinney Street                                       Contingent
Suite 4325, 4th Floor                                           Unliquidated
                                                                Disputed
Denton                          TX       76209-4524
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Judgment
Is the claim subject to offset?
     No
     Yes
Velocity Investments, LLC and Assignee of Prosper Funding LLC VS. Adoracion Boncales Case No. CV-2018-02326

  4.18                                                                                                                                             $0.00
Credit Corp. Solutions                                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
180 W. Election Road, Suite 200
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Draper                          UT       84020
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Collecting for Lending Club Corporation
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                            Total claim
previous page.

  4.19                                                                                                                                         $1,230.00
Credit One Bank                                             Last 4 digits of account number       3    1    9    1
Nonpriority Creditor's Name
                                                            When was the debt incurred?
PO Box 98873
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Las Vegas                       NV       89193-8872
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                                             $0.00
Financial Corporation of America                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 203500
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Austin                          TX       78720
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Collecting for Baylor Scott & White Medical Center
Is the claim subject to offset?
     No
     Yes

  4.21                                                                                                                                             $0.00
Frontline Asset Strategies                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
2700 Snelling Avenue N, #250
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Roseville                       MN       55113
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Collecting for Synchrony Bank/Care Credit
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                            Total claim
previous page.

  4.22                                                                                                                                             $0.00
Global Trust Management, LLC                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
4805 W. Laurel Street, Suite 300
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Tampa                           FL       33607
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Collecting for Mobil Loans
Is the claim subject to offset?
     No
     Yes

  4.23                                                                                                                                             $0.00
Global Trust Management, LLC                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 26244
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Tampa                           FL       33623
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Collecting for Mobil Loans
Is the claim subject to offset?
     No
     Yes

  4.24                                                                                                                                             $0.00
JH Portfolio Debt Equities, LLC                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
1200 Wilson Drive
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
West Chester                    PA       19380
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Collecting for Synchrony Bank/QVC
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                            Total claim
previous page.

  4.25                                                                                                                                             $0.00
Justice of the Peace                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
Denton County, Precint Two
Number        Street                                        As of the date you file, the claim is: Check all that apply.
6301 Main Street, Suite 100                                     Contingent
                                                                Unliquidated
                                                                Disputed
The Colony                      TX       75056
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Judgment
Is the claim subject to offset?
     No
     Yes
PORTFOLIO RECOVERY ASSOCIATES, LLC ASSIGNEE OF SYNCHRONY BANK / SYNCHRONY BANK vs Adoracion Boncales
Case No. D18-631J2

  4.26                                                                                                                                             $0.00
Justice of the Peace                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
Denton County, Precint Two
Number        Street                                        As of the date you file, the claim is: Check all that apply.
6301 Main Street, Suite 100                                     Contingent
                                                                Unliquidated
                                                                Disputed
The Colony                      TX       75056
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Judgment
Is the claim subject to offset?
     No
     Yes
PORTFOLIO RECOVERY ASSOCIATES, LLC vs Adoracion D Boncales Case No. D18-683J




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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                            Total claim
previous page.

  4.27                                                                                                                                         $3,084.27
Lending Club Corporation                                    Last 4 digits of account number       2    5    4    2
Nonpriority Creditor's Name
                                                            When was the debt incurred?
71 Stevenson Street, Ste. 300
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
San Francisco                   CA       94105
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Unsecured Debt
Is the claim subject to offset?
     No
     Yes

  4.28                                                                                                                                             $0.00
Midland Funding, LLC                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
Attorneys for
Number        Street                                        As of the date you file, the claim is: Check all that apply.
P.O. Box 460568                                                 Contingent
                                                                Unliquidated
                                                                Disputed
Houston                         TX       77056
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Attorney for Midland Funding, LLC
Is the claim subject to offset?
     No
     Yes

  4.29                                                                                                                                             $0.00
Midland Funding, LLC                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
2365 Northside Drive, Suite 300
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
San Diego                       CA       92108
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Collecting for Credit One Bank
Is the claim subject to offset?
     No
     Yes


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Debtor 2       Adoracion De Jesus Boncales                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                            Total claim
previous page.

  4.30                                                                                                                                         $1,070.00
Mobil Loans                                                 Last 4 digits of account number       2    4    0    5
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 1409
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Marksville                      LA       71351
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Payday Loan
Is the claim subject to offset?
     No
     Yes

  4.31                                                                                                                                             $0.00
Mobil Loans                                                 Last 4 digits of account number       6    6    4    0
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 1409
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Marksville                      LA       71351
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Payday Loan
Is the claim subject to offset?
     No
     Yes

  4.32                                                                                                                                             $0.00
National Credit Adjusters                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 3023
Number        Street                                        As of the date you file, the claim is: Check all that apply.
327 W. 4th Street                                               Contingent
                                                                Unliquidated
                                                                Disputed
Hutchinson                      KS       67504-0550
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Collecting for CashNetUSA
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                            Total claim
previous page.

  4.33                                                                                                                                           $261.59
NTTA                                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
Bankruptcy Division
Number        Street                                        As of the date you file, the claim is: Check all that apply.
5900 W. Plano Parkway                                           Contingent
                                                                Unliquidated
                                                                Disputed
Plano                           TX       75093
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Tolls
Is the claim subject to offset?
     No
     Yes

  4.34                                                                                                                                           $176.13
NTTA Violation Processing Center                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 260928
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Plano                           TX       75026
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Tolls
Is the claim subject to offset?
     No
     Yes

  4.35                                                                                                                                         $3,369.52
One Main Financial                                          Last 4 digits of account number       4    2    0    4
Nonpriority Creditor's Name
                                                            When was the debt incurred?
1301 Custer Rd., #250
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Plano                           TX       75075-7485
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Deficiency Balance on Loan
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                            Total claim
previous page.

  4.36                                                                                                                                         $1,200.00
Plain Green, LLC                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
93 Mack Rd., Ste. 600
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Box Elder                       MT       59221
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Unsecured Debt
Is the claim subject to offset?
     No
     Yes

  4.37                                                                                                                                         $2,148.00
Plain Green, LLC                                            Last 4 digits of account number       3    8    x    x
Nonpriority Creditor's Name
                                                            When was the debt incurred?
93 Mack Rd., Ste. 600
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Box Elder                       MT       59221
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Unsecured Debt
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                            Total claim
previous page.

  4.38                                                                                                                                             $0.00
Portfolio Recovery & Affiliates                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
Riverside Commerce Center
Number        Street                                        As of the date you file, the claim is: Check all that apply.
120 Cord Blvd., Ste. 100                                        Contingent
                                                                Unliquidated
                                                                Disputed
Norfolk                         VA       23502
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Judgment/Collecting for SYNCHRONY BANK
Is the claim subject to offset?
     No
     Yes
PORTFOLIO RECOVERY ASSOCIATES, LLC ASSIGNEE OF SYNCHRONY BANK vs Adoracion Boncales Case No. D18-631J2

  4.39                                                                                                                                             $0.00
Portfolio Recovery Associates                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 12903
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Norfolk                         VA       23541
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Collecting for Best Buy/Citibank, N.A.
Is the claim subject to offset?
     No
     Yes
PORTFOLIO RECOVERY ASSOCIATES, LLC vs Adoracion D Boncales Case No. D18-683J2




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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                            Total claim
previous page.

  4.40                                                                                                                                             $0.00
Prosper Marketplace, Inc.                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
221 Main St., Ste. 300
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
San Francisco                   CA       94105-1909
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Judgment/Unsecured Debt
Is the claim subject to offset?
     No
     Yes
Velocity Investments, LLC and Assignee of Prosper Funding LLC VS. Adoracion Boncales Case No. CV-2018-02326

  4.41                                                                                                                                             $0.00
Rausch, Strum, Israel, Enerson & Hornik,                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
250 N. Sunny Slope Rd., Ste. 300
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Brookfield                      WI       53005
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Attorney for Velocity Investments, LLC/Prosper Mar
Is the claim subject to offset?
     No
     Yes
Velocity Investments, LLC and Assignee of Prosper Funding LLC VS. Adoracion Boncales Case No. CV-2018-02326




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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                            Total claim
previous page.

  4.42                                                                                                                                             $0.00
Rausch, Strum, Israel, Enerson,                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
& Hornik, LLC
Number        Street                                        As of the date you file, the claim is: Check all that apply.
15660 N. Dallas Pkwy, Ste. 350                                  Contingent
                                                                Unliquidated
                                                                Disputed
Dallas                          TX       75248
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Attorney forPortfolio Reco/Best Buy/Citibank, N.A.
Is the claim subject to offset?
     No
     Yes

  4.43                                                                                                                                             $0.00
Sentry Credit, Inc.                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
2809 Grand Ave.
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Everett                         WA       98201
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Collecting for Synchrony Bank/QVC
Is the claim subject to offset?
     No
     Yes

  4.44                                                                                                                                             $0.00
Simm Associates Inc                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 7526
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Newark                          DE       19714-7526
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Collecting for Synchrony Bank/Paypal Credit
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                            Total claim
previous page.

  4.45                                                                                                                                             $0.00
Simm Associates, Inc.                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
800 Pencader Dr.
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Newark                          DE       19707
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Collecting for Synchrony Bank/Paypal Credit
Is the claim subject to offset?
     No
     Yes

  4.46                                                                                                                                         $1,152.82
Spot Loan                                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 927
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Palatine                        IL       60078-0927
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Payday Loan
Is the claim subject to offset?
     No
     Yes

  4.47                                                                                                                                             $0.00
Summit Receivables                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
1291 Galleria Drive, #170
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Henderson                       NV       89014
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Collecting for Collecting for Mobil Loans
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                            Total claim
previous page.

  4.48                                                                                                                                         $1,588.69
Synchrony Bank                                              Last 4 digits of account number       5    0    0    6
Nonpriority Creditor's Name
                                                            When was the debt incurred?
950 Forrer Blvd.
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Kettering                       OH       45420
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

  4.49                                                                                                                                         $1,247.20
Synchrony Bank                                              Last 4 digits of account number       0    9    9    4
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 965036
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Orlando                         FL       32896
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

  4.50                                                                                                                                           $824.00
Synchrony Bank/Care Credit                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 965015
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Orlando                         FL       32896
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                            Total claim
previous page.

  4.51                                                                                                                                           $539.62
Synchrony Bank/Paypal Credit                                Last 4 digits of account number       1    0    7    7
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 105658
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Atlanta                         GA       30348
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

  4.52                                                                                                                                         $1,061.12
Synchrony Bank/Paypal Credit                                Last 4 digits of account number       5    7    6    3
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 530927
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Atlanta                         GA       30353
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

  4.53                                                                                                                                           $216.48
Synchrony Bank/QVC                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 960017
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Orlando                         FL       32896-0017
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                             page 21
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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                            Total claim
previous page.

  4.54                                                                                                                                         $2,710.00
Texas Workforce Commission                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
TEC Building - Bankruptcy
Number        Street                                        As of the date you file, the claim is: Check all that apply.
101 East 15th St., Room 556                                     Contingent
                                                                Unliquidated
                                                                Disputed
Austin                          TX       78778-0001
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Unemployment Overpayment
Is the claim subject to offset?
     No
     Yes

  4.55                                                                                                                                             $0.00
Velocity Investments, LLC                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P.O. Box 788
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Wall                            NJ       07719
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Judgment/Notice Only
Is the claim subject to offset?
     No
     Yes
Velocity Investments, LLC and Assignee of Prosper Funding LLC VS. Adoracion Boncales Case No. CV-2018-02326




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                             page 22
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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                            Total claim
previous page.

  4.56                                                                                                                                         $9,000.00
Velocity Investments, LLC                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
1800 State Route 34, # 404A
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Wall Township                   NJ       07719
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Judgment/Collecting for Prosper Marketplace, Inc.
Is the claim subject to offset?
     No
     Yes
Velocity Investments, LLC and Assignee of Prosper Funding LLC VS. Adoracion Boncales Case No. CV-2018-02326




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                             page 23
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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                      Case number (if known)

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


One Main Financial                                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 64                                                        Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                              Unsecured Debt                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                                 Last 4 digits of account number
Evansville                      IN        47701-0064
City                            State     ZIP Code




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                               page 24
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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                Total claim

Total claims      6a. Domestic support obligations                                                    6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                            6b.                     $0.00

                  6c. Claims for death or personal injury while you were intoxicated                  6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.         6d.   +                 $0.00


                  6e. Total.     Add lines 6a through 6d.                                             6d.                     $0.00




                                                                                                                Total claim

Total claims      6f.   Student loans                                                                 6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                    6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                     6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.    6i.   +         $43,987.12


                  6j.   Total.   Add lines 6f through 6i.                                             6j.             $43,987.12




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                       page 25
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 Fill in this information to identify your case:
 Debtor 1            Gabriel               Marquez               Boncales
                     First Name            Middle Name           Last Name

 Debtor 2            Adoracion             De Jesus              Boncales
 (Spouse, if filing) First Name            Middle Name           Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify your case:
 Debtor 1            Gabriel                 Marquez                    Boncales
                     First Name              Middle Name                Last Name

 Debtor 2            Adoracion               De Jesus                   Boncales
 (Spouse, if filing) First Name              Middle Name                Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                        Check if this is an
 (if known)
                                                                                                                        amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?         (If you are filing a joint case, do not list either spouse as a codebtor.)
         No
         Yes

2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
         No. Go to line 3.
         Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
             No
             Yes
              In which community state or territory did you live?                   Texas      Fill in the name and current address of that person.

              Gabriel Marquez Boncales
              Name of your spouse, former spouse, or legal equivalent
              13217 Manheim Drive
              Number        Street


              Frisco                                          TX              75033
              City                                            State           ZIP Code

3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                Check all schedules that apply:




Official Form 106H                                             Schedule H: Your Codebtors                                                             page 1
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 Fill in this information to identify your case:
     Debtor 1              Gabriel                 Marquez                Boncales
                           First Name              Middle Name            Last Name                           Check if this is:
     Debtor 2              Adoracion               De Jesus               Boncales                                 An amended filing
     (Spouse, if filing)   First Name              Middle Name            Last Name
                                                                                                                   A supplement showing postpetition
     United States Bankruptcy Court for the:     EASTERN DISTRICT OF TEXAS
                                                                                                                   chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                   MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                                Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page        Employment status               Employed                                           Employed
      with information about                                             Not employed                                       Not employed
      additional employers.
                                         Occupation               Employee                                           Concur Administrator
      Include part-time, seasonal,
      or self-employed work.             Employer's name          Torchmark Affiliates                               Torchmark Affiliates

      Occupation may include             Employer's address       3700 S. Stonebridge Drive                          3700 S. Stonebridge Drive
      student or homemaker, if it                                 Number Street                                      Number Street
      applies.
                                                                  P.O. Box 8080                                      P.O. Box 8080




                                                                  McKinney                     TX       75070-8080McKinney                    TX      75070-8080
                                                                  City                         State    Zip Code     City                     State   Zip Code

                                         How long employed there?          2 Months                                          2 Years

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1            For Debtor 2 or
                                                                                                                       non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                     $2,745.75             $4,019.67
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                         3.   +               $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                    4.               $2,745.75             $4,019.67




Official Form 106I                                               Schedule I: Your Income                                                                  page 1
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Debtor 1        Gabriel Marquez Boncales
Debtor 2        Adoracion De Jesus Boncales                                                                                      Case number (if known)
                                                                                                                    For Debtor 1             For Debtor 2 or
                                                                                                                                             non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.              $2,745.75       $4,019.67
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.              $316.29               $400.53
     5b. Mandatory contributions for retirement plans                                                       5b.                $0.00                 $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.                $0.00               $321.58
     5d. Required repayments of retirement fund loans                                                       5d.                $0.00                 $0.00
     5e. Insurance                                                                                          5e.                $0.00               $432.51
     5f. Domestic support obligations                                                                       5f.                $0.00                 $0.00
     5g. Union dues                                                                                         5g.                $0.00                 $0.00
     5h. Other deductions.
          Specify: See continuation sheet                                                                   5h. +                $0.00             $253.18
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.               $316.29             $1,407.80
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $2,429.46              $2,611.87
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.                  $0.00                $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                                             8b.                  $0.00                $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00                $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                          8d.                  $0.00                $0.00
     8e. Social Security                                                                                    8e.                  $0.00                $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.                  $0.00                $0.00
     8g. Pension or retirement income                                                                       8g.                  $0.00                $0.00
     8h. Other monthly income.
         Specify:                                                                                           8h. +                $0.00                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.                   $0.00                $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $2,429.46 +         $2,611.87 =                                                   $5,041.33
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                             11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                             12.            $5,041.33
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                   Combined
                                                                                                                                                                     monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           Husband was added to insurance. Beginning January 2019, insurance deductions will increase.
        Yes. Explain:




Official Form 106I                                                               Schedule I: Your Income                                                                      page 2
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Debtor 1     Gabriel Marquez Boncales
Debtor 2     Adoracion De Jesus Boncales                                                    Case number (if known)


                                                                                   For Debtor 1       For Debtor 2 or
                                                                                                      non-filing spouse
5h. Other Payroll Deductions (details)
     LNL W/S Cancer                                                                                           $73.65
     HSA                                                                                                     $108.33
     LTD                                                                                                      $24.12
     LNL W/S Life Post                                                                                        $47.08

                                                                         Totals:           $0.00             $253.18




Official Form 106I                                        Schedule I: Your Income                                              page 3
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 Fill in this information to identify your case:
                                                                                                          Check if this is:
     Debtor 1              Gabriel                 Marquez                Boncales                            An amended filing
                           First Name              Middle Name            Last Name                           A supplement showing postpetition
                                                                                                              chapter 13 expenses as of the
     Debtor 2              Adoracion               De Jesus               Boncales
     (Spouse, if filing)   First Name              Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:     EASTERN DISTRICT OF TEXAS                                      MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                   No
                                                Yes. Fill out this information          Dependent's relationship to    Dependent's       Does dependent
      Do not list Debtor 1 and                                                          Debtor 1 or Debtor 2           age               live with you?
                                                for each dependent...................................
      Debtor 2.                                                                                                                               No
                                                                                                                                              Yes
      Do not state the dependents'
                                                                                                                                              No
      names.
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
3.    Do your expenses include                         No
      expenses of people other than                    Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                       Your expenses

4.    The rental or home ownership expenses for your residence.                                                       4.                      $1,590.46
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                           4a.

      4b. Property, homeowner's, or renter's insurance                                                                4b.

      4c. Home maintenance, repair, and upkeep expenses                                                               4c.                      $160.00
      4d. Homeowner's association or condominium dues                                                                 4d.                       $50.00




 Official Form 106J                                              Schedule J: Your Expenses                                                          page 1
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Debtor 1      Gabriel Marquez Boncales
Debtor 2      Adoracion De Jesus Boncales                                                     Case number (if known)

                                                                                                                 Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                            5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                                    6a.                     $200.00
     6b. Water, sewer, garbage collection                                                                  6b.                      $99.00
     6c. Telephone, cell phone, Internet, satellite, and                                                   6c.                     $444.22
         cable services
     6d. Other. Specify:                                                                                   6d.

7.   Food and housekeeping supplies                                                                        7.                      $500.00
8.   Childcare and children's education costs                                                              8.

9.   Clothing, laundry, and dry cleaning                                                                   9.                       $75.00
10. Personal care products and services                                                                    10.                      $75.00
11. Medical and dental expenses                                                                            11.                      $50.00
12. Transportation. Include gas, maintenance, bus or train                                                 12.                     $300.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                          13.
    magazines, and books
14. Charitable contributions and religious donations                                                       14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                                 15a.                    $175.00
     15b.   Health insurance                                                                               15b.

     15c.   Vehicle insurance                                                                              15c.                    $166.77
     15d.   Other insurance. Specify:     Umbrella Insurance                                               15d.                     $37.60
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                               16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1      2018 Chevrolet Cruze                                           17a.                    $431.58
     17b.   Car payments for Vehicle 2      2019 Chevrolet Cruz                                            17b.                    $514.77
     17c.   Other. Specify:                                                                                17c.

     17d.   Other. Specify:                                                                                17d.

18. Your payments of alimony, maintenance, and support that you did not report as                          18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                               19.




 Official Form 106J                                           Schedule J: Your Expenses                                               page 2
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Debtor 1      Gabriel Marquez Boncales
Debtor 2      Adoracion De Jesus Boncales                                                      Case number (if known)

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify: Pet Expense                                                                              21.     +                $159.00
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.                    $5,028.40
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.                    $5,028.40

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.                    $5,041.33
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.    –               $5,028.40
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                      $12.93

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                            Schedule J: Your Expenses                                                 page 3
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 Fill in this information to identify your case:
 Debtor 1                Gabriel                       Marquez                       Boncales
                         First Name                    Middle Name                   Last Name

 Debtor 2            Adoracion                         De Jesus                      Boncales
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                                                          Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $361,000.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                         $52,138.00
     1b. Copy line 62, Total personal property, from Schedule A/B......................................................................................................................................................


                                                                                                                                                                            $413,138.00
     1c. Copy line 63, Total of all property on Schedule A/B................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $253,441.61
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                  $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +                 $43,987.12
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                         $297,428.73




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $5,041.33
     Copy your combined monthly income from line 12 of Schedule I....................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $5,028.40




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
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Debtor 1      Gabriel Marquez Boncales
Debtor 2      Adoracion De Jesus Boncales                                                  Case number (if known)


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                     $6,602.52


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                 $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                         $0.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                               $0.00


     9d. Student loans. (Copy line 6f.)                                                                                $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                       $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                  $0.00


     9g. Total.    Add lines 9a through 9f.                                                                            $0.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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 Fill in this information to identify your case:
 Debtor 1          Gabriel                Marquez             Boncales
                   First Name             Middle Name         Last Name

 Debtor 2            Adoracion            De Jesus            Boncales
 (Spouse, if filing) First Name           Middle Name         Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



              Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

         No

         Yes. Name of person                                                                 Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Gabriel Marquez Boncales                           X /s/ Adoracion De Jesus Boncales
        Gabriel Marquez Boncales, Debtor 1                      Adoracion De Jesus Boncales, Debtor 2

        Date 06/28/2019                                         Date 06/28/2019
             MM / DD / YYYY                                          MM / DD / YYYY




Official Form 106Dec                          Declaration About an Individual Debtor's Schedules                                       page 1
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 Fill in this information to identify your case:
 Debtor 1           Gabriel                Marquez               Boncales
                    First Name             Middle Name           Last Name

 Debtor 2            Adoracion             De Jesus              Boncales
 (Spouse, if filing) First Name            Middle Name           Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                 Check if this is an
 (if known)
                                                                                                                 amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                     04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 1
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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                  Case number (if known)

 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                     Debtor 1                                         Debtor 2

                                                   Sources of income          Gross income           Sources of income         Gross income
                                                   Check all that apply.      (before deductions     Check all that apply.     (before deductions
                                                                              and exclusions                                   and exclusions

From January 1 of the current year until               Wages, commissions,            $30,403.70        Wages, commissions,            $47,908.15
the date you filed for bankruptcy:                     bonuses, tips                                    bonuses, tips
                                                       Operating a business                             Operating a business


For the last calendar year:                            Wages, commissions,            $69,803.00        Wages, commissions,
                                                       bonuses, tips                                    bonuses, tips
(January 1 to December 31, 2018 )
                                  YYYY                 Operating a business                             Operating a business


For the calendar year before that:                     Wages, commissions,            $63,486.00        Wages, commissions,
                                                       bonuses, tips                                    bonuses, tips
(January 1 to December 31, 2017 )
                                  YYYY                 Operating a business                             Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.


                                                     Debtor 1                                         Debtor 2

                                                   Sources of income           Gross income          Sources of income          Gross income
                                                   Describe below.             from each source      Describe below.            from each source
                                                                               (before deductions                               (before deductions
                                                                               and exclusions                                   and exclusions

From January 1 of the current year until           Unemployment                        $3,024.00
the date you filed for bankruptcy:



For the last calendar year:                        Unemployment                        $9,711.00
(January 1 to December 31, 2018 )                  Annuity                            $25,869.00
                                YYYY



For the calendar year before that:                 Unemployment                        $9,711.00
(January 1 to December 31, 2017 )                  annuity                                $75.00
                                YYYY




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 2
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Debtor 1         Gabriel Marquez Boncales
Debtor 2         Adoracion De Jesus Boncales                                                  Case number (if known)


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                    "incurred by an individual primarily for a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                    * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                            Also, do not include payments to an attorney for this bankruptcy case.

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Bayview Loan Servicing                                                           $4,801.02          $207,596.20             Mortgage
Creditor's name                                                                                                             Car
                                                              Last 90 Days
P.O. Box 650091                                                                                                             Credit card
Number     Street
                                                                                                                            Loan repayment
                                                                                                                            Suppliers or vendors
Dallas                              TX       75265-0091                                                                     Other
City                                State    ZIP Code

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
GM Financial                                                                     $1,294.74           $19,167.00             Mortgage
Creditor's name                                                                                                             Car
                                                              Last 90 Days
P.O. Box 183853                                                                                                             Credit card
Number     Street
                                                                                                                            Loan repayment
                                                                                                                            Suppliers or vendors
Arlington                           TX       76096                                                                          Other
City                                State    ZIP Code




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                   Case number (if known)

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
     such as child support and alimony.

           No
           Yes. List all payments to an insider.

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.




 Part 4:         Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

Case title                                 Nature of the case                         Court or agency                                Status of the case
Velocity Investments, LLC and              Civil                                      County Court at Law 2 Denton County,
                                                                                                                                               Pending
Assignee of Prosper Funding                                                           Texas
LLC VS. Adoracion Boncales                                                            Court Name                                               On appeal
                                                                                      1450 East McKinney Street
Case number CV-2018-02326                                                             Number     Street                                        Concluded
                                                                                      Suite 4325, 4th Floor
                                                                                      Denton                     TX       76209-4524
                                                                                      City                       State    ZIP Code


Case title                                 Nature of the case                         Court or agency                                Status of the case
PORTFOLIO RECOVERY                         Civil                                      Justice of the Peace
                                                                                                                                               Pending
ASSOCIATES, LLC ASSIGNEE                                                              Court Name
OF SYNCHRONY BANK /                                                                   Denton County, Precint Two                               On appeal
SYNCHRONY BANK vs                                                                     Number     Street

Adoracion Boncales                                                                    6301 Main Street, Suite 100                              Concluded

Case number D18-631J2                                                                 The Colony                 TX       75056
                                                                                      City                       State    ZIP Code


Case title                                 Nature of the case                         Court or agency                                Status of the case
PORTFOLIO RECOVERY                         Civil                                      Justice of the Peace
                                                                                                                                               Pending
ASSOCIATES, LLC vs                                                                    Court Name
Adoracion D Boncales Case                                                             Denton County, Precint Two                               On appeal
                                                                                      Number     Street
Case number D18-683J                                                                  6301 Main Street, Suite 100                              Concluded

                                                                                      The Colony                 TX       75056
                                                                                      City                       State    ZIP Code




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 4
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Debtor 1         Gabriel Marquez Boncales
Debtor 2         Adoracion De Jesus Boncales                                                     Case number (if known)

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

                                                                Describe the property                            Date            Value of the property
One Main Financial                                              2011 Nissan Versa                                  01/17/2019          $2,000.00
Creditor's Name

1301 Custer Rd., #250
Number     Street                                            Explain what happened
                                                                Property was repossessed.
                                                                Property was foreclosed.
Plano                                  TX         75075-7485    Property was garnished.
City                                   State      ZIP Code      Property was attached, seized, or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

  Part 5:         List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

  Part 6:         List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 5
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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                     Case number (if known)

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                        Description and value of any property transferred        Date payment       Amount of
Abacus Credit Counseling                                Credit Counseling                                        or transfer was    payment
Person Who Was Paid                                                                                              made

17337 Ventura Boulevard                                                                                             06/06/2019            $25.00
Number      Street

Suite 205

Encino                        CA       91316
City                          State    ZIP Code

www.abacuscc.org/?
Email or website address


Person Who Made the Payment, if Not You

                                                        Description and value of any property transferred        Date payment       Amount of
Law Office of David S Kohm & Associates Attorney Fees                                                            or transfer was    payment
Person Who Was Paid                     Filing Fee                                                               made

1414 W Randol Mill Rd                                                                                               06/07/2019           $1,715.00
Number      Street

Ste 210                                                                                                             06/07/2019           $335.00

Arlington                     TX       76012
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 6
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Debtor 1        Gabriel Marquez Boncales
Debtor 2        Adoracion De Jesus Boncales                                                     Case number (if known)

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

  Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

                                                         Last 4 digits of account     Type of account or          Date account       Last balance
                                                         number                       instrument                  was closed,        before closing
                                                                                                                  sold, moved,       or transfer
                                                                                                                  or transferred
Capital One Bank (USA), N.A.
Name of Financial Institution
                                                         XXXX- 9       2    2    7        Checking                                        ($2,094.92)
PO Box 85057                                                                              Savings
Number      Street
                                                                                          Money market
                                                                                          Brokerage
                                                                                          Other
Richmond                        VA      23285-5057
City                            State   ZIP Code

                                                         Last 4 digits of account     Type of account or          Date account       Last balance
                                                         number                       instrument                  was closed,        before closing
                                                                                                                  sold, moved,       or transfer
                                                                                                                  or transferred
Chase Bank
Name of Financial Institution
                                                         XXXX- 7       6    9    8        Checking                       6/2019
                                                                                          Savings
Number      Street
                                                                                          Money market
                                                                                          Brokerage
                                                                                          Other

City                            State   ZIP Code

                                                         Last 4 digits of account     Type of account or          Date account       Last balance
                                                         number                       instrument                  was closed,        before closing
                                                                                                                  sold, moved,       or transfer
                                                                                                                  or transferred
Bank of America
Name of Financial Institution
                                                         XXXX- 4       0    6    0        Checking                       6/2019
                                                                                          Savings
Number      Street
                                                                                          Money market
                                                                                          Brokerage
                                                                                          Other

City                            State   ZIP Code




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7
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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                  Case number (if known)

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.


 Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
   hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
   including statutes or regulations controlling the cleanup of these substances, wastes, or material.
   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
   utilize it or used to own, operate, or utilize it, including disposal sites.

   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
   substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


           No
           Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

           No
           Yes. Fill in the details.




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 8
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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                     Case number (if known)

 Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.

 Part 12:        Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Gabriel Marquez Boncales                               X /s/ Adoracion De Jesus Boncales
   Gabriel Marquez Boncales, Debtor 1                            Adoracion De Jesus Boncales, Debtor 2

   Date       06/28/2019                                         Date      06/28/2019

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                              Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                     Declaration, and Signature (Official Form 119).




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 9
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 Fill in this information to identify your case:
 Debtor 1              Gabriel              Marquez               Boncales
                       First Name           Middle Name           Last Name

 Debtor 2            Adoracion              De Jesus              Boncales
 (Spouse, if filing) First Name             Middle Name           Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                               Check if this is an
 (if known)
                                                                                                                               amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:           List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the            Did you claim the property
                                                                        property that secures a debt?                as exempt on Schedule C?

      Creditor's        Ally Financial                                        Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    2019 Chevrolet Cruz                                   Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        Bayview Loan Servicing                                Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    Homestead                                             Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        GM Financial                                          Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    2018 Chevrolet Cruze                                  Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:




Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                   page 1
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Debtor 1     Gabriel Marquez Boncales
Debtor 2     Adoracion De Jesus Boncales                                                Case number (if known)

    Identify the creditor and the property that is collateral        What do you intend to do with the            Did you claim the property
                                                                     property that secures a debt?                as exempt on Schedule C?
    Creditor's       Grayhawk Association of HOA                          Surrender the property.                      No
    name:                                                                 Retain the property and redeem it.           Yes
    Description of   Homestead                                            Retain the property and enter into a
    property                                                              Reaffirmation Agreement.
    securing debt:                                                        Retain the property and [explain]:



 Part 2:         List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

    Describe your unexpired personal property leases                                                             Will this lease be assumed?

    None.


 Part 3:         Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ Gabriel Marquez Boncales                          X /s/ Adoracion De Jesus Boncales
   Gabriel Marquez Boncales, Debtor 1                       Adoracion De Jesus Boncales, Debtor 2

   Date 06/28/2019                                          Date 06/28/2019
        MM / DD / YYYY                                           MM / DD / YYYY




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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)



  This notice is for you if:
                                                                       Chapter 7: Liquidation

     You are an individual filing for bankruptcy,
     and                                                                      $245    filing fee
                                                                               $75    administrative fee
     Your debts are primarily consumer debts.                          +       $15    trustee surcharge
     Consumer debts are defined in 11 U.S.C. § 101(8)
                                                                              $335    total fee
     as "incurred by an individual primarily for a
     personal, family, or household purpose."
                                                                       Chapter 7 is for individuals who have financial difficulty
                                                                       preventing them from paying their debts and who are
                                                                       willing to allow their non-exempt property to be used to
The types of bankruptcy that are available                             pay their creditors. The primary purpose of filing under
to individuals                                                         chapter 7 is to have your debts discharged. The
                                                                       bankruptcy discharge relieves you after bankruptcy from
                                                                       having to pay many of your pre-bankruptcy debts.
                                                                       Exceptions exist for particular debts, and liens on
Individuals who meet the qualifications may file under one
                                                                       property may still be enforced after discharge. For
of four different chapters of the Bankruptcy Code:
                                                                       example, a creditor may have the right to foreclose a
                                                                       home mortgage or repossess an automobile.
    Chapter 7 -- Liquidation
                                                                       However, if the court finds that you have committed
    Chapter 11 -- Reorganization                                       certain kinds of improper conduct described in the
                                                                       Bankruptcy Code, the court may deny your discharge.
    Chapter 12 -- Voluntary repayment plan for family
                  farmers or fishermen                                 You should know that the even if you file chapter 7 and
                                                                       you receive a discharge, some debts are not discharged
                                                                       under the law. Therefore, you may still be responsible to
    Chapter 13 -- Voluntary repayment plan for
                                                                       pay:
                  individuals with regular income
                                                                           most taxes;
You should have an attorney review your                                    most student loans;
decision to file for bankruptcy and the choice
of chapter.                                                                domestic support and property settlement obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                    page 1
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    most fines, penalties, forfeitures, and criminal                   for your state of residence and family size, depending
    restitution obligations; and                                       on the results of the Means Test, the U.S. trustee,
                                                                       bankruptcy administrator, or creditors can file a motion to
    certain debts that are not listed in your bankruptcy               dismiss your case under § 707(b) of the Bankruptcy
    papers.                                                            Code. If a motion is filed, the court will decide if your
                                                                       case should be dismissed. To avoid dismissal, you may
You may also be required to pay debts arising from:                    choose to proceed under another chapter of the
                                                                       Bankruptcy Code.
    fraud or theft;
                                                                       If you are an individual filing for chapter 7 bankruptcy, the
    fraud or defalcation while acting in breach of fiduciary
                                                                       trustee may sell your property to pay your debts, subject
    capacity;
                                                                       to your right to exempt the property or a portion of the
                                                                       proceeds from the sale of the property. The property,
    intentional injuries that you inflicted; and
                                                                       and the proceeds from property that your bankruptcy
    death or personal injury caused by operating a motor               trustee sells or liquidates that you are entitled to, is
    vehicle, vessel, or aircraft while intoxicated from                called exempt property. Exemptions may enable you to
    alcohol or drugs.                                                  keep your home, a car, clothing, and household items or
                                                                       to receive some of the proceeds if the property is sold.
If your debts are primarily consumer debts, the court can
dismiss your chapter 7 case if it finds that you have                  Exemptions are not automatic. To exempt property, you
enough income to repay creditors a certain amount. You                 must list it on Schedule C: The Property You Claim as
must file Chapter 7 Statement of Your Current Monthly                  Exempt (Official Form 106C). If you do not list the
Income (Official Form 122A-1) if you are an individual filing          property, the trustee may sell it and pay all of the
for bankruptcy under chapter 7. This form will determine               proceeds to your creditors.
your current monthly income and compare whether your
income is more than the median income that applies in
your state.

If your income is not above the median for your state,
                                                                       Chapter 11: Reorganization
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form                         $1,167    filing fee
122A-2).                                                                      $550    administrative fee
                                                                       +
If your income is above the median for your state, you must                 $1,717    total fee
file a second form--the Chapter 7 Means Test Calculation
(Official Form 122A-2). The calculations on the form--                 Chapter 11 is often used for reorganizing a business, but
sometimes called the Means Test-- deduct from your                     is also available to individuals. The provisions of chapter
income living expenses and payments on certain debts to                11 are too complicated to summarize briefly.
determine any amount available to pay unsecured
creditors. If your income is more than the median income




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        Read These Important Warnings

        Because bankruptcy can have serious long-term financial and legal consequences, including loss of
        your property, you should hire an attorney and carefully consider all of your options before you file.
        Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
        and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
        properly and protect you, your family, your home, and your possessions.

        Although the law allows you to represent yourself in bankruptcy court, you should understand that
        many people find it difficult to represent themselves successfully. The rules are technical, and a
        mistake or inaction may harm you. If you file without an attorney, you are still responsible for
        knowing and following all of the legal requirements.

        You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
        necessary documents.

        Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
        bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
        fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
        to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                         Under chapter 13, you must file with the court a plan to
Chapter 12: Repayment plan for family farmers                            repay your creditors all or part of the money that you owe
            or fishermen                                                 them, usually using your future earnings. If the court
                                                                         approves your plan, the court will allow you to repay your
                                                                         debts, as adjusted by the plan, within 3 years or 5 years,
        $200   filing fee                                                depending on your income and other factors.
+        $75   administrative fee
                                                                         After you make all the payments under your plan, many
        $275   total fee
                                                                         of your debts are discharged. The debts that are not
                                                                         discharged and that you may still be responsible to pay
Similar to chapter 13, chapter 12 permits family farmers
                                                                         include:
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.                                                                domestic support obligations,
                                                                             most student loans,
                                                                             certain taxes,
Chapter 13: Repayment plan for individuals with
            regular income                                                   debts for fraud or theft,
                                                                             debts for fraud or defalcation while acting in a
                                                                             fiduciary capacity,
          $235     filing fee
    +      $75     administrative fee
                                                                             most criminal fines and restitution obligations,
          $310     total fee
                                                                             certain debts that are not listed in your bankruptcy
                                                                             papers,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
                                                                             certain debts for acts that caused death or personal
installments over a period of time and to discharge
                                                                             injury, and
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
                                                                             certain long-term secured debts.
dollar amounts set forth in 11 U.S.C. § 109.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                         page 3
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                                                                      A married couple may file a bankruptcy case together--
  Warning: File Your Forms on Time                                    called a joint case. If you file a joint case and each
                                                                      spouse lists the same mailing address on the
  Section 521(a)(1) of the Bankruptcy Code requires                   bankruptcy petition, the bankruptcy court generally will
  that you promptly file detailed information about                   mail you and your spouse one copy of each notice,
  your creditors, assets, liabilities, income, expenses               unless you file a statement with the court asking that
  and general financial condition. The court may                      each spouse receive separate copies.
  dismiss your bankruptcy case if you do not file this
  information within the deadlines set by the
  Bankruptcy Code, the Bankruptcy Rules, and local
  rules of the court.                                                 Understand which services you could
                                                                      receive from credit counseling agencies
  For more information about the documents and
  their deadlines, go to:
                                                                      The law generally requires that you receive a credit
  http://www.uscourts.gov/bkforms/bankruptcy_forms                    counseling briefing from an approved credit counseling
  .html#procedure.                                                    agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                      case, both spouses must receive the briefing. With
                                                                      limited exceptions, you must receive it within the 180
                                                                      days before you file your bankruptcy petition. This
Bankruptcy crimes have serious                                        briefing is usually conducted by telephone or on the
consequences                                                          Internet.

    If you knowingly and fraudulently conceal assets or               In addition, after filing a bankruptcy case, you generally
    make a false oath or statement under penalty of                   must complete a financial management instructional
    perjury--either orally or in writing--in connection with          course before you can receive a discharge. If you are
    a bankruptcy case, you may be fined, imprisoned, or               filing a joint case, both spouses must complete the
    both.                                                             course.

                                                                      You can obtain the list of agencies approved to provide
    All information you supply in connection with a                   both the briefing and the instructional course from:
    bankruptcy case is subject to examination by the
    Attorney General acting through the Office of the                 http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
    U.S. Trustee, the Office of the U.S. Attorney, and
    other offices and employees of the U.S. Department                In Alabama and North Carolina, go to:
    of Justice.                                                       http://www.uscourts.gov/FederalCourts/Bankruptcy/Bankru
                                                                      ptcyResources/ApprovedCreditAndDebtCounselors.aspx.

Make sure the court has your mailing
address                                                               If you do not have access to a computer, the clerk of the
                                                                      bankruptcy court may be able to help you obtain the list.
The bankruptcy court sends notices to the mailing address
you list on Voluntary Petition for Individuals Filing for
Bankruptcy (Official Form 101). To ensure you receive
information about your case, Bankruptcy Rule 4002
requires that you notify the court of any changes in your
address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                    page 4
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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                              EASTERN DISTRICT OF TEXAS
                                                                  SHERMAN DIVISION
In re Gabriel Marquez Boncales                                                                                                      Case No.
      Adoracion De Jesus Boncales
                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                 $2,000.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $1,715.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                    $285.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                   06/28/2019                            /s/ David S. Kohm
                      Date                               David S. Kohm                              Bar No. 11658563
                                                         David S Kohm
                                                         1414 W. Randol Mill Rd., Suite 118
                                                         Arlington, TX 76012
                                                         Phone: (817) 861-8400 / Fax: (817) 861-8900




    /s/ Gabriel Marquez Boncales                                       /s/ Adoracion De Jesus Boncales
   Gabriel Marquez Boncales                                           Adoracion De Jesus Boncales
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                                         UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF TEXAS
                                                 SHERMAN DIVISION
  IN RE:   Gabriel Marquez Boncales                                                      CASE NO
           Adoracion De Jesus Boncales
                                                                                         CHAPTER      7

                                         VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 6/28/2019                                                 Signature    /s/ Gabriel Marquez Boncales
                                                                           Gabriel Marquez Boncales



Date 6/28/2019                                                 Signature    /s/ Adoracion De Jesus Boncales
                                                                           Adoracion De Jesus Boncales
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                             Alliance One Receivables Management, Inc
                             6565 Kimball Drive, Suite 200
                             Gig Harbor, WA 98335



                             Ally Financial
                             P.O. Box 380901
                             Bloomington, MN            55438



                             AMCA
                             4 Westchester Plaza, Ste. 110
                             Elmsford, NY 10523



                             Aptive Environmental, LLC
                             1225 E Crosby Rd Ste A14
                             Carrollton, TX 75006-8524



                             ARM Solutions, Inc.
                             P.O. Box 3666
                             Camarillo, CA 93011



                             Attorney General
                             Collection Division/BK Sec.
                             PO Box 12548
                             Austin, TX 78711-2548


                             Baylor Scott & White Medical Center
                             5601 Warren Parkway
                             Frisco, TX 75034



                             Baylor Scott & White Medical Center
                             P.O. Box 847051
                             Dallas, TX 75284



                             Bayview Loan Servicing
                             P.O. Box 650091
                             Dallas, TX 75265-0091
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                             Best Buy/Citibank, N.A.
                             PO Box 6497
                             Sioux Falls, SD 57117



                             Capital One Bank (USA), N.A.
                             15000 Capital One Drive
                             Richmond, VA 23238



                             Capital One Bank (USA), N.A.
                             P.O. Box 60599
                             City of Industry, CA 91716-0599



                             Capital One Bank (USA), N.A.
                             PO Box 85057
                             Richmond, VA 23285-5057



                             Capital One Bank (USA), N.A.
                             P.O. Box 30285
                             Salt Lake City, UT 84130-0285



                             Capital One Bank (USA), N.A.
                             P.O. Box 30281
                             Salt Lake City, UT 84130-0281



                             CashNetUSA
                             175 W. Jackson Blvd., Suite 1000
                             Chicago, IL 60604



                             Cavalry Investments LLC
                             P.O. Box 27288
                             Tempe, AZ 85285



                             Clinical Pathology Associates
                             P.O. Box 141699
                             Austin, Texas 78714-1699
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                             Clinical Pathology Associates
                             P.O. Box 141669
                             Austin, Texas 78714-1669



                             Comptroller of Public Accounts
                             Revenue Acct. Division
                             PO Box 13528
                             Austin, TX 78711


                             County Court at Law 2
                             Denton County, Texas
                             1450 East McKinney Street
                             Suite 4325, 4th Floor
                             Denton, TX 76209-4524

                             Credit Corp. Solutions
                             180 W. Election Road, Suite 200
                             Draper, UT 84020



                             Credit One Bank
                             PO Box 98873
                             Las Vegas, NV 89193-8872



                             Denton County Central Appraisal District
                             3911 Morse Street
                             P.O. Box 50747
                             Denton, TX 76206


                             Denton County Tax Assessor Collector
                             P.O. Box 90223
                             Denton, Texas 76202-5223



                             Financial Corporation of America
                             P.O. Box 203500
                             Austin, Texas 78720



                             Frontline Asset Strategies
                             2700 Snelling Avenue N, #250
                             Roseville, MN 55113
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                             Global Trust Management, LLC
                             4805 W. Laurel Street, Suite 300
                             Tampa, FL 33607



                             Global Trust Management, LLC
                             P.O. Box 26244
                             Tampa, FL 33623



                             GM Financial
                             Bankruptcy Department
                             P.O. Box 183853
                             Arlington, TX 76096


                             Grayhawk Association of HOA
                             c/o SBB Management
                             8360 LBJ Frwy, Ste. 300
                             Dallas, TX 75243


                             Internal Revenue Service
                             P.O. Box 7346
                             Philadelphia, PA 19101-7346



                             JH Portfolio Debt Equities, LLC
                             1200 Wilson Drive
                             West Chester, PA 19380



                             Justice of the Peace
                             Denton County, Precint Two
                             6301 Main Street, Suite 100
                             The Colony, TX 75056


                             Lending Club Corporation
                             71 Stevenson Street, Ste. 300
                             San Francisco, CA 94105



                             Midland Funding, LLC
                             Attorneys for
                             P.O. Box 460568
                             Houston, TX 77056
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                             Midland Funding, LLC
                             2365 Northside Drive, Suite 300
                             San Diego, CA 92108



                             Mobil Loans
                             P.O. Box 1409
                             Marksville, LA            71351



                             National Credit Adjusters
                             P.O. Box 3023
                             327 W. 4th Street
                             Hutchinson, KS 67504-0550


                             NTTA
                             Bankruptcy Division
                             5900 W. Plano Parkway
                             Plano, TX 75093


                             NTTA Violation Processing Center
                             P.O. Box 260928
                             Plano, Texas 75026



                             One Main Financial
                             1301 Custer Rd., #250
                             Plano, TX 75075-7485



                             One Main Financial
                             PO Box 64
                             Evansville, IN 47701-0064



                             Plain Green, LLC
                             93 Mack Rd., Ste. 600
                             Box Elder, MT 59221



                             Portfolio Recovery & Affiliates
                             Riverside Commerce Center
                             120 Cord Blvd., Ste. 100
                             Norfolk, VA 23502
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                             Portfolio Recovery Associates
                             P.O. Box 12903
                             Norfolk, VA 23541



                             Prosper Marketplace, Inc.
                             221 Main St., Ste. 300
                             San Francisco, CA 94105-1909



                             Rausch, Strum, Israel, Enerson & Hornik,
                             250 N. Sunny Slope Rd., Ste. 300
                             Brookfield, WI 53005



                             Rausch, Strum, Israel, Enerson,
                             & Hornik, LLC
                             15660 N. Dallas Pkwy, Ste. 350
                             Dallas, TX 75248


                             Sentry Credit, Inc.
                             2809 Grand Ave.
                             Everett, WA 98201



                             Simm Associates Inc
                             P.O. Box 7526
                             Newark, DE 19714-7526



                             Simm Associates, Inc.
                             800 Pencader Dr.
                             Newark, DE 19707



                             Spot Loan
                             P.O. Box 927
                             Palatine, IL           60078-0927



                             Summit Receivables
                             1291 Galleria Drive, #170
                             Henderson, NV 89014
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                             Synchrony Bank
                             950 Forrer Blvd.
                             Kettering, OH 45420



                             Synchrony Bank
                             P.O. Box 965036
                             Orlando, FL 32896



                             Synchrony Bank/Care Credit
                             P.O. Box 965015
                             Orlando, FL 32896



                             Synchrony Bank/Paypal Credit
                             P.O. Box 105658
                             Atlanta, GA 30348



                             Synchrony Bank/Paypal Credit
                             P.O. Box 530927
                             Atlanta, GA 30353



                             Synchrony Bank/QVC
                             P.O. Box 960017
                             Orlando, FL 32896-0017



                             Texas Alcohol Beverage Commission
                             License & Permit Division
                             PO Box 13127
                             Austin, TX 78711-3127


                             Texas Workforce Commission
                             TEC Building - Bankruptcy
                             101 East 15th St., Room 556
                             Austin, Texas 78778-0001


                             Texas Workforce Commission
                             Tax Dept. Collection
                             BK Room 556-A
                             Austin, TX 78778
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                             United States Attorney
                             3rd Floor, 1100 Commerce St.
                             Dallas, TX 75242



                             United States Trustee
                             1100 N College Ave
                             Tyler, TX 75702



                             Velocity Investments, LLC
                             P.O. Box 788
                             Wall, NJ 07719



                             Velocity Investments, LLC
                             1800 State Route 34, # 404A
                             Wall Township, NJ 07719
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 Debtor(s): Gabriel Marquez Boncales                       Case No:                                                      EASTERN DISTRICT OF TEXAS
            Adoracion De Jesus Boncales                     Chapter: 7                                                           SHERMAN DIVISION


Alliance One Receivables Management,
                                 Capital
                                     Inc One Bank (USA), N.A.                                              County Court at Law 2
6565 Kimball Drive, Suite 200    15000 Capital One Drive                                                   Denton County, Texas
Gig Harbor, WA 98335             Richmond, VA 23238                                                        1450 East McKinney Street
                                                                                                           Suite 4325, 4th Floor
                                                                                                           Denton, TX 76209-4524

Ally Financial                                         Capital One Bank (USA), N.A.    Credit Corp. Solutions
P.O. Box 380901                                        P.O. Box 60599                  180 W. Election Road, Suite 200
Bloomington, MN            55438                       City of Industry, CA 91716-0599 Draper, UT 84020



AMCA                                                   Capital One Bank (USA), N.A.                        Credit One Bank
4 Westchester Plaza, Ste. 110                          PO Box 85057                                        PO Box 98873
Elmsford, NY 10523                                     Richmond, VA 23285-5057                             Las Vegas, NV 89193-8872



Aptive Environmental, LLC                              Capital One Bank (USA), N.A.                        Denton County Central Appraisal Di
1225 E Crosby Rd Ste A14                               P.O. Box 30285                                      3911 Morse Street
Carrollton, TX 75006-8524                              Salt Lake City, UT 84130-0285                       P.O. Box 50747
                                                                                                           Denton, TX 76206


ARM Solutions, Inc.                                    Capital One Bank (USA), N.A.                        Denton County Tax Assessor Collect
P.O. Box 3666                                          P.O. Box 30281                                      P.O. Box 90223
Camarillo, CA 93011                                    Salt Lake City, UT 84130-0281                       Denton, Texas 76202-5223



Attorney General                                       CashNetUSA                       Financial Corporation of America
Collection Division/BK Sec.                            175 W. Jackson Blvd., Suite 1000 P.O. Box 203500
PO Box 12548                                           Chicago, IL 60604                Austin, Texas 78720
Austin, TX 78711-2548


Baylor Scott & White Medical Center
                                 Cavalry Investments LLC                                                   Frontline Asset Strategies
5601 Warren Parkway              P.O. Box 27288                                                            2700 Snelling Avenue N, #250
Frisco, TX 75034                 Tempe, AZ 85285                                                           Roseville, MN 55113



Baylor Scott & White Medical Center
                                 Clinical Pathology Associates                                             Global Trust Management, LLC
P.O. Box 847051                  P.O. Box 141699                                                           4805 W. Laurel Street, Suite 300
Dallas, TX 75284                 Austin, Texas 78714-1699                                                  Tampa, FL 33607



Bayview Loan Servicing                                 Clinical Pathology Associates                       Global Trust Management, LLC
P.O. Box 650091                                        P.O. Box 141669                                     P.O. Box 26244
Dallas, TX 75265-0091                                  Austin, Texas 78714-1669                            Tampa, FL 33623



Best Buy/Citibank, N.A.                                Comptroller of Public Accounts                      GM Financial
PO Box 6497                                            Revenue Acct. Division                              Bankruptcy Department
Sioux Falls, SD 57117                                  PO Box 13528                                        P.O. Box 183853
                                                       Austin, TX 78711                                    Arlington, TX 76096
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 Debtor(s): Gabriel Marquez Boncales                       Case No:                                                      EASTERN DISTRICT OF TEXAS
            Adoracion De Jesus Boncales                     Chapter: 7                                                           SHERMAN DIVISION


Grayhawk Association of HOA                            NTTA Violation Processing Center Simm Associates Inc
c/o SBB Management                                     P.O. Box 260928                  P.O. Box 7526
8360 LBJ Frwy, Ste. 300                                Plano, Texas 75026               Newark, DE 19714-7526
Dallas, TX 75243


Internal Revenue Service                               One Main Financial                                  Simm Associates, Inc.
P.O. Box 7346                                          1301 Custer Rd., #250                               800 Pencader Dr.
Philadelphia, PA 19101-7346                            Plano, TX 75075-7485                                Newark, DE 19707



JH Portfolio Debt Equities, LLC                        One Main Financial                                  Spot Loan
1200 Wilson Drive                                      PO Box 64                                           P.O. Box 927
West Chester, PA 19380                                 Evansville, IN 47701-0064                           Palatine, IL         60078-0927



Justice of the Peace                                   Plain Green, LLC                                    Summit Receivables
Denton County, Precint Two                             93 Mack Rd., Ste. 600                               1291 Galleria Drive, #170
6301 Main Street, Suite 100                            Box Elder, MT 59221                                 Henderson, NV 89014
The Colony, TX 75056


Lending Club Corporation                               Portfolio Recovery & Affiliates                     Synchrony Bank
71 Stevenson Street, Ste. 300                          Riverside Commerce Center                           950 Forrer Blvd.
San Francisco, CA 94105                                120 Cord Blvd., Ste. 100                            Kettering, OH 45420
                                                       Norfolk, VA 23502


Midland Funding, LLC                                   Portfolio Recovery Associates                       Synchrony Bank
Attorneys for                                          P.O. Box 12903                                      P.O. Box 965036
P.O. Box 460568                                        Norfolk, VA 23541                                   Orlando, FL 32896
Houston, TX 77056


Midland Funding, LLC                                   Prosper Marketplace, Inc.                           Synchrony Bank/Care Credit
2365 Northside Drive, Suite 300                        221 Main St., Ste. 300                              P.O. Box 965015
San Diego, CA 92108                                    San Francisco, CA 94105-1909                        Orlando, FL 32896



Mobil Loans                                            Rausch, Strum, Israel, Enerson & Hornik,
                                                                                        Synchrony Bank/Paypal Credit
P.O. Box 1409                                          250 N. Sunny Slope Rd., Ste. 300 P.O. Box 105658
Marksville, LA           71351                         Brookfield, WI 53005             Atlanta, GA 30348



National Credit Adjusters                              Rausch, Strum, Israel, Enerson,                     Synchrony Bank/Paypal Credit
P.O. Box 3023                                          & Hornik, LLC                                       P.O. Box 530927
327 W. 4th Street                                      15660 N. Dallas Pkwy, Ste. 350                      Atlanta, GA 30353
Hutchinson, KS 67504-0550                              Dallas, TX 75248


NTTA                                                   Sentry Credit, Inc.                                 Synchrony Bank/QVC
Bankruptcy Division                                    2809 Grand Ave.                                     P.O. Box 960017
5900 W. Plano Parkway                                  Everett, WA 98201                                   Orlando, FL 32896-0017
Plano, TX 75093
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 Debtor(s): Gabriel Marquez Boncales                       Case No:                                                      EASTERN DISTRICT OF TEXAS
            Adoracion De Jesus Boncales                     Chapter: 7                                                           SHERMAN DIVISION


Texas Alcohol Beverage Commission
License & Permit Division
PO Box 13127
Austin, TX 78711-3127


Texas Workforce Commission
TEC Building - Bankruptcy
101 East 15th St., Room 556
Austin, Texas 78778-0001


Texas Workforce Commission
Tax Dept. Collection
BK Room 556-A
Austin, TX 78778


United States Attorney
3rd Floor, 1100 Commerce St.
Dallas, TX 75242



United States Trustee
1100 N College Ave
Tyler, TX 75702



Velocity Investments, LLC
P.O. Box 788
Wall, NJ 07719



Velocity Investments, LLC
1800 State Route 34, # 404A
Wall Township, NJ 07719
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 Fill in this information to identify your case:                                             Check one box only as directed in this
                                                                                             form and in Form 122A-1Supp:
 Debtor 1           Gabriel                Marquez             Boncales
                    First Name             Middle Name         Last Name                       1. There is no presumption of abuse.

 Debtor 2            Adoracion             De Jesus            Boncales                        2. The calculation to determine if a presumption
 (Spouse, if filing) First Name            Middle Name         Last Name                          of abuse applies will be made under Chapter 7
                                                                                                  Means Test Calculation (Official Form 122A-2).
 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS
                                                                                               3. The Means Test does not apply now because
 Case number                                                                                      of qualified military service but it could apply
 (if known)                                                                                       later.

                                                                                                 Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.


 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

          Married and your spouse is NOT filing with you. You and your spouse are:

               Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
               declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
               and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                      $2,336.32            $4,266.20
     (before all payroll deductions).

3.   Alimony and maintenance payments. Do not include payments from a spouse                       $0.00               $0.00
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household                            $0.00               $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                              page 1
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Debtor 1        Gabriel Marquez Boncales
Debtor 2        Adoracion De Jesus Boncales                                                                                         Case number (if known)

                                                                                                                                         Column A      Column B
                                                                                                                                         Debtor 1      Debtor 2 or
                                                                                                                                                       non-filing spouse

5.   Net income from operating a business, profession, or farm

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all                                            $0.00                          $0.00
     deductions)

     Ordinary and necessary operating                     –                $0.00         –                $0.00
     expenses
                                                                                                                       Copy
     Net monthly income from a business,                                   $0.00                          $0.00 here                           $0.00             $0.00
     profession, or farm

6.   Net income from rental and other real property

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all                                            $0.00                          $0.00
     deductions)

     Ordinary and necessary operating                     –                $0.00         –                $0.00
     expenses
                                                                                                                       Copy
     Net monthly income from rental or                                     $0.00                          $0.00 here                           $0.00             $0.00
     other real property

7.   Interest, dividends, and royalties                                                                                                        $0.00             $0.00
8.   Unemployment compensation                                                                                                                 $0.00             $0.00
     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................

                                                                                                          $385.00
         For you............................................................................................................................

                                                                                                         $0.00
         For your spouse..............................................................................................................

9.   Pension or retirement income. Do not include any amount received that                                                                     $0.00             $0.00
     was a benefit under the Social Security Act.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.




     Total amounts from separate pages, if any.                                                                                   +                    +
11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                                                                $2,336.32   +     $4,266.20   =     $6,602.52
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                           Total current
                                                                                                                                                                           monthly income




Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                                 page 2
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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                                        Case number (if known)

 Part 2:         Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a.                                                                                                                                                                       $6,602.52
            Copy your total current monthly income from line 11....................................................................................................................
                                                                                                                       Copy line 11 here                       12a.

            Multiply by 12 (the number of months in a year).                                                                                                             X       12

    12b.    The result is your annual income for this part of the form.                                                                                         12b.         $79,230.24

13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.                                               Texas

    Fill in the number of people in your household.                                        2

                                                                                                                                                                       $65,429.00
    Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                          13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

    14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.
    14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.


 Part 3:         Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X    /s/ Gabriel Marquez Boncales                                                             X    /s/ Adoracion De Jesus Boncales
           Gabriel Marquez Boncales, Debtor 1                                                            Adoracion De Jesus Boncales, Debtor 2

           Date 6/28/2019                                                                                Date 6/28/2019
                MM / DD / YYYY                                                                                MM / DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 122A-2.

      If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                    Chapter 7 Statement of Your Current Monthly Income                                                                           page 3
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 Fill in this information to identify your case:                                                                                Check the appropriate box as directed
                                                                                                                                in lines 40 or 42:
 Debtor 1                 Gabriel                           Marquez                          Boncales
                          First Name                        Middle Name                      Last Name                           According to the calculation required by this
                                                                                                                                 Statement:
 Debtor 2            Adoracion                              De Jesus                         Boncales
 (Spouse, if filing) First Name                             Middle Name                      Last Name
                                                                                                                                      1. There is no presumption of abuse.
 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS
                                                                                                                                      2. There is a presumption of abuse.
 Case number
 (if known)
                                                                                                                                     Check if this is an amended filing




Official Form 122A-2
Chapter 7 Means Test Calculation                                                                                                                                                      04/19

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form
122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known).


 Part 1:           Determine Your Adjusted Income

1.   Copy your total current monthly income
                                         ...............................................................................................................................
                                                                      Copy line 11 from Official Form 122A-1 here                                                        1.       $6,602.52

2.   Did you fill out Column B in Part 1 of Form 122A-1?

           No. Fill in $0 for the total on line 3.

           Yes. Is your spouse filing with you?

                   No. Go to line 3.

                   Yes. Fill in $0 for the total on line 3.

3.   Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for
     the household expenses of you or your dependents. Follow these steps:

     On line 11, Column B of Form 122A-1, was any amount of the income you reported for your spouse NOT regularly used
     for the household expenses of you or your dependents?

           No. Fill in $0 for the total on line 3.

           Yes. Fill in the information below:

           State each purpose for which the income was used
                                                                                                            Fill in the amount you
           For example, the income is used to pay your spouse's tax
                                                                                                            are subtracting from
           debt or to support people other than you or your
                                                                                                            your spouse's income
           dependents




                                                                                                           +
         Total ........................................................................................................   $0.00 Copy
                                                                                                                                 ........................................
                                                                                                                                         total here                           –      $0.00


4.   Adjust your current monthly income. Subtract the total on line 3 from line 1.                                                                                                $6,602.52




Official Form 122A-2                                                             Chapter 7 Means Test Calculation                                                                     page 1
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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                                                Case number (if known)

 Part 2:         Calculate Your Deductions from Your Income
The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use
these amounts to answer the questions in lines 6-15. To find the IRS standards, go online using the link
specified in the separate instructions for this form. This information may also be available at the bankruptcy
clerk's office.

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will
use some of your actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted
from your spouse's income in line 3 and do not deduct any operating expenses that you subtracted from income in lines 5
and 6 of Form 122A-1.

If your expenses differ from month to month, enter the average expense.

Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A-1 is filled in.

 5.   The number of people used in determining your deductions from income

      Fill in the number of people who could be claimed as exemptions on your federal income tax
      return, plus the number of any additional dependents whom you support. This number may                                                                   2
      be different from the number of people in your household.



 National Standards                 You must use the IRS National Standards to answer the questions in lines 6-7.


 6.   Food, clothing and other items: Using the number of people you entered in line 5 and the IRS National Standards,                                                                $1,288.00
      fill in the dollar amount for food, clothing, and other items.

 7.   Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National
      Standards, fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories--
      people who are under 65 and people who are 65 or older--because older people have a higher IRS allowance for
      health care costs. If your actual expenses are higher than this IRS amount, you may deduct the additional amount on
      line 22.

        People who are under 65 years of age

      7a. Out-of-pocket health care allowance per person                                        $55.00

      7b. Number of people who are under 65                                           X                  2

      7c. Subtotal. Multiply line 7a by line 7b.                                              $110.00 Copy here                                 $110.00

        People who are 65 years of age or older

      7d. Out-of-pocket health care allowance per person                                      $114.00

      7e. Number of people who are 65 or older                                        X

      7f.    Subtotal. Multiply line 7d by line 7e.                                               $0.00 Copy here                    +              $0.00
                                                                                                                                                                Copy total
                                                                                                                                                                here
                                                                                                                                              $110.00
      7g. Total. Add lines 7c and 7f................................................................................................................................
                                                                                                                              ................................................. 7g.    $110.00




Official Form 122A-2                                                       Chapter 7 Means Test Calculation                                                                               page 2
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Debtor 1     Gabriel Marquez Boncales
Debtor 2     Adoracion De Jesus Boncales                                                     Case number (if known)

 Local Standards             You must use the IRS Local Standards to answer the questions in lines 8-15.

 Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing
 for bankruptcy purposes into two parts:

      Housing and utilities -- Insurance and operating expenses
      Housing and utilities -- Mortgage or rent expenses

 To answer the questions in lines 8-9, use the U.S. Trustee Program chart.
 To find the chart, go online using the link specified in the separate instructions for this form. This chart may also be
 available at the bankruptcy clerk's office.

 8.    Housing and utilities -- Insurance and operating expenses: Using the number of people you entered in line 5,                     $606.00
       fill in the dollar amount listed for your county for insurance and operating expenses.

 9.    Housing and utilities -- Mortgage or rent expenses:

       9a. Using the number of people you entered in line 5, fill in the dollar amount listed            $1,532.00
           for your county for mortgage or rent expenses.

       9b. Total average monthly payment for all mortgages and other debts secured by
           your home.

            To calculate the total average monthly payment, add all amounts that are
            contractually due to each secured creditor in the 60 months after you file for
            bankruptcy. Then divide by 60.

             Name of the creditor                                 Average monthly
                                                                  payment

            Bayview Loan Servicing                                  $1,590.08



                                                              +
                                                                                                                   Repeat this
                                                                              Copy                                 amount on
                             Total average monthly payment          $1,590.08 here                 –     $1,590.08 line 33a.

       9c. Net mortgage or rent expense.
                                                                                                                       Copy
            Subtract line 9b (total average monthly payment) from line 9a (mortgage or                        $0.00 here                  $0.00
            rent expense). If this amount is less than $0, enter $0.

 10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect
     and affects the calculation of your monthly expenses, fill in any additional amount you claim.

       Explain
       why:


 11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
            0. Go to line 14.
            1. Go to line 12.
            2 or more. Go to line 12.

 12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the                        $562.00
     operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.




Official Form 122A-2                                     Chapter 7 Means Test Calculation                                                  page 3
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Debtor 1      Gabriel Marquez Boncales
Debtor 2      Adoracion De Jesus Boncales                                                                    Case number (if known)

 13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease
     expense for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on
     the vehicle. In addition, you may not claim the expense for more than two vehicles.


      Vehicle 1         Describe Vehicle 1:          2018 Chevrolet Cruze



                                                                                                                           $508.00
      13a. Ownership or leasing costs using IRS Local Standard. ...........................................................................

      13b. Average monthly payment for all debts secured by Vehicle 1.

            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all
            amounts that are contractually due to each secured creditor in the 60 months
            after you filed for bankruptcy. Then divide by 60.


              Name of each creditor for Vehicle 1                            Average monthly
                                                                             payment


            GM Financial                                                           $319.45

                                                                         +
                                                                                                                                      Repeat this
                                                                                                   Copy                               amount on
                                Total average monthly payment                      $319.45         here                  –    $319.45 line 33b.

                                                                                                                                      Copy net
                                                                                                                                      Vehicle 1
      13c. Net Vehicle 1 ownership or lease expense.                                                                                  expense
           Subtract line 13b from line 13a. If this amount is less than $0, enter $0. ........................                $188.55 here                      $188.55

      Vehicle 2         Describe Vehicle 2:          2019 Chevrolet Cruz



                                                                                                                           $508.00
      13d. Ownership or leasing costs using IRS Local Standard. ...........................................................................

      13e. Average monthly payment for all debts secured by Vehicle 2. Do not include
           costs for leased vehicles.

              Name of each creditor for Vehicle 2                            Average monthly
                                                                             payment


            Ally Financial                                                         $394.64

                                                                         +
                                                                                                                                      Repeat this
                                                                                                   Copy                               amount on
                                Total average monthly payment                      $394.64         here                  –    $394.64 line 33c.

                                                                                                                                      Copy net
                                                                                                                                      Vehicle 2
      13f. Net Vehicle 2 ownership or lease expense.                                                                                  expense
           Subtract line 13e from 13d. If this amount is less than $0, enter $0.                   ........................   $113.36 here                      $113.36

 14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public                                       $0.00
     Transportation expense allowance regardless of whether you use public transportation.




Official Form 122A-2                                              Chapter 7 Means Test Calculation                                                                 page 4
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Debtor 1    Gabriel Marquez Boncales
Debtor 2    Adoracion De Jesus Boncales                                                   Case number (if known)

 15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may                  $0.00
     also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
     not claim more than the IRS Local Standard for Public Transportation.

 Other Necessary Expenses            In addition to the expense deductions listed above, you are allowed your monthly expenses for the
                                     following IRS categories.

 16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes,                $743.79
     self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
     your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
     and subtract that number from the total monthly amount that is withheld to pay for taxes.

      Do not include real estate, sales, or use taxes.

 17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,                $0.00
     union dues, and uniform costs.

      Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.


 18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are                  $51.82
     filing together, include payments that you make for your spouse's term life insurance. Do not include premiums for life
     insurance on your dependents, or a non-filing spouse's life insurance, or for any form of life insurance other than
     term.

 19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative                   $0.00
     agency, such as spousal or child support payments.

      Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

 20. Education: The total monthly amount that you pay for education that is either required:                                               $0.00
       as a condition for your job, or
       for your physically or mentally challenged dependent child if no public education is available for similar services.

 21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.                 $0.00
     Do not include payments for any elementary or secondary school education.

 22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that                      $0.00
     is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
     health savings account. Include only the amount that is more than the total entered in line 7.
     Payments for health insurance or health savings accounts should be listed only in line 25.

 23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services             +        $0.00
     for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
     phone service, to the extent necessary for your health and welfare or that of your dependents or for the production
     of income, if it is not reimbursed by your employer.

      Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
      expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.

 24. Add all of the expenses allowed under the IRS expense allowances.
     Add lines 6 through 23.                                                                                                          $3,663.52




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Debtor 2       Adoracion De Jesus Boncales                                                Case number (if known)

 Additional Expense Deductions              These are additional deductions allowed by the Means Test.
                                            Note: Do not include any expense allowances listed in lines 6-24.

 25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
     insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your
     spouse, or your dependents.


      Health insurance                                            $394.57

      Disability insurance                                         $23.97

      Health savings account                              +       $174.36

      Total                                                       $592.90 Copy total here                                                                        $592.90
                                                                                                   ...........................................................................


      Do you actually spend this total amount?

              No. How much do you actually spend?

              Yes

 26. Continuing contributions to the care of household or family members. The actual monthly expenses that you                                                      $0.00
     will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled
     member of your household or member of your immediate family who is unable to pay for such expenses. These
     expenses may include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

 27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the                                                   $0.00
     safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

      By law, the court must keep the nature of these expenses confidential.

 28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses
     on line 8.

      If you believe that you have home energy costs that are more than the home energy costs included in expenses on
      line 8, then fill in the excess amount of home energy costs.

      You must give your case trustee documentation of your actual expenses, and you must show that the additional
      amount claimed is reasonable and necessary.

 29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than                                                         $0.00
     $170.83* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
     public elementary or secondary school.

      You must give your case trustee documentation of your actual expenses, and you must explain why the amount
      claimed is reasonable and necessary and not already accounted for in lines 6-23.

      * Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.

 30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
     higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
     than 5% of the food and clothing allowances in the IRS National Standards.

      To find a chart showing the maximum additional allowance, go online using the link specified in the separate
      instructions for this form. This chart may also be available at the bankruptcy clerk's office.

      You must show that the additional amount claimed is reasonable and necessary.

 31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial                         +             $80.00
     instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).




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 32. Add all of the additional expense deductions.
     Add lines 25 though 31.                                                                                                                                                                           $672.90

 Deductions for Debt Payment


 33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
     loans, and other secured debt, fill in lines 33a through 33e.

      To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in
      the 60 months after you file for bankruptcy. Then divide by 60.

                                                                                                                                       Average monthly
                                                                                                                                       payment
              Mortgages on your home:

      33a.                                                                                                                                    $1,590.08
              Copy line 9b here............................................................................................................................................................................................

              Loans on your first two vehicles:

      33b.                                                                                                                                      $319.45
              Copy line 13b here............................................................................................................................................................................................

      33c.                                                                                                                                      $394.64
              Copy line 13e here............................................................................................................................................................................................

      33d.    List other secured debts:
      Name of each creditor for                                    Identify property that                       Does payment
      other secured debt                                           secures the debt                             include taxes or
                                                                                                                insurance?

      Grayhawk Association of HOA                                  Homestead                                                   No                     $50.00
                                                                                                                               Yes

                                                                                                                               No
                                                                                                                               Yes

                                                                                                                               No
                                                                                                                                        +
                                                                                                                               Yes
                                                                                                                                                                        Copy total
      33e.                                                                                                       $2,354.17
              Total average monthly payment. Add lines 33a through 33d...............................................................                                   here                        $2,354.17

 34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property
     necessary for your support or the support of your dependents?

             No. Go to line 35.
             Yes. State any amount that you must pay to a creditor, in addition to the
                  payments listed in line 33, to keep possession of your property (called
                  the cure amount). Next, divide by 60 and fill in the information below.

 Name of the creditor                         Identify property that                             Total cure                                 Monthly cure
                                              secures the debt                                   amount                                     amount

                                                                                                                           ÷ 60 =

                                                                                                                           ÷ 60 =
                                                                                                                           ÷ 60 =       +
                                                                                                                                                                        Copy total
                                                                                                                             Total                      $0.00           here                               $0.00




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Debtor 1       Gabriel Marquez Boncales
Debtor 2       Adoracion De Jesus Boncales                                                                                 Case number (if known)

 35. Do you owe any priority claims such as a priority tax, child support, or
     alimony -- that are past due as of the filing date of your bankruptcy case?
     11 U.S.C. § 507.
             No. Go to line 36.
             Yes. Fill in the total amount of all of these priority claims. Do not include
                  current or ongoing priority claims, such as those you listed in line 19.

                      Total amount of all past-due priority claims...................................................................................... ÷ 60 =                     $0.00

 36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
     For more information, go online using the link for Bankruptcy Basics specified in the separate
     instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.

             No. Go to line 37.
             Yes. Fill in the following information.

                      Projected monthly plan payment if you were filing under Chapter 13

                      Current multiplier for your district as stated on the list issued by the
                      Administrative Office of the United States Courts (for districts in Alabama
                      and North Carolina) or by the Executive Office for United States Trustees
                      (for all other districts).
                                                                                                                                        X                 %
                      To find a list of district multipliers that includes your district, go online using
                      the link specified in the separate instructions for this form. This list may
                      also be available at the bankruptcy clerk's office.

                                                                                                                                                              Copy total
                      Average monthly administrative expense if you were filing under Chapter 13                                                              here

 37. Add all of the deductions for debt payment.
     Add lines 33e through 36.                                                                                                                                                  $2,354.17

 Total Deductions from Income

 38. Add all of the allowed deductions.

      Copy line 24, All of the expenses allowed under IRS
                                                                                             $3,663.52
      expense allowances.............................................................................................................

                                                                              $672.90
      Copy line 32, All of the additional expense deductions...............................

                                                                   + $2,354.17
      Copy line 37, All of the deductions for debt payment.....................................................

      Total deductions                                                                          $6,690.59             Copy total here                                           $6,690.59


 Part 3:         Determine Whether There Is a Presumption of Abuse
 39. Calculate monthly disposable income for 60 months

      39a.                                                                    $6,602.52
               Copy line 4, adjusted current monthly income...................................

      39b.                                                                    – $6,690.59
               Copy line 38, Total deductions.......................................................................................................
                                                                                                                   Copy
      39c.     Monthly disposable income. 11 U.S.C. § 707(b)(2).                                   ($88.07) here                              ($88.07)
               Subtract line 39b from line 39a.

               For the next 60 months (5 years)...........................................................................................................
                                                                                                                                    x 60

                                                                                                                                                                  Copy
      39d.                                                                                                                                ($5,284.20) here
               Total. Multiply line 39c by 60.....................................................................................................................
                                                                                                                            39d.                                               ($5,284.20)




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Debtor 2      Adoracion De Jesus Boncales                                                                  Case number (if known)

 40. Find out whether there is a presumption of abuse. Check the box that applies:

             The line 39d is less than $8,175*. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.

             The line 39d is more than $13,650*. On the top of page 1 of this form, check box 2, There is a presumption of abuse.
             You may fill out Part 4 if you claim special circumstances. Then go to Part 5.

             The line 39d is at least $8,175*, but not more than $13,650*. Go to line 41.

             * Subject to adjustment on 4/01/22, and every 3 years after that for cases filed on or after the date of adjustment.

 41. 41a.     Fill in the amount of your total nonpriority unsecured debt. If you filled out
              A Summary of Your Assets and Liabilities and Certain Statistical Information Schedules
              (Official Form 106Sum), you may refer to line 3b on that form. .....................................................................

                                                                                                                              x .25
      41b.    25% of your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I).                                                          Copy
              Multiply line 41a by 0.25.                                                                                                             here

 42. Determine whether the income you have left over after subtracting all allowed deductions
     is enough to pay 25% of your unsecured, nonpriority debt.
     Check the box that applies:

             Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.

             Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption of abuse.
             You may fill out Part 4 if you claim special circumstances. Then go to Part 5.


 Part 4:        Give Details About Special Circumstances
 43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for
     which there is no reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

             No.    Go to Part 5.

             Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment
                  for each item. You may include expenses you listed in line 25.

                    You must give a detailed explanation of the special circumstances that make the expenses or income
                    adjustments necessary and reasonable. You must also give your case trustee documentation of your actual
                    expenses or income adjustments.


                      Give a detailed explanation of the special circumstances                                                              Average monthly expense
                                                                                                                                            or income adjustment




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Debtor 1      Gabriel Marquez Boncales
Debtor 2      Adoracion De Jesus Boncales                                                Case number (if known)

 Part 5:       Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X    /s/ Gabriel Marquez Boncales                                        X   /s/ Adoracion De Jesus Boncales
           Gabriel Marquez Boncales, Debtor 1                                      Adoracion De Jesus Boncales, Debtor 2

           Date 6/28/2019                                                          Date 6/28/2019
                MM / DD / YYYY                                                          MM / DD / YYYY




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                                         UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF TEXAS
                                                 SHERMAN DIVISION
                                                                    §
IN RE:
                                                                    §
Gabriel Marquez Boncales                                            §                Case No.
Adoracion De Jesus Boncales                                         §
                          Debtor(s)                                 §                Chapter     7


                       DECLARATION FOR ELECTRONIC FILING OF BANKRUPTCY
                          PETITION, LISTS, STATEMENTS, AND SCHEDULES
PART I: DECLARATION OF PETITIONER:
As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation, partnership, or limited
liability company seeking bankruptcy relief in this case, I hereby request relief as, or on behalf of, the debtor in accordance with
the chapter of title 11, United States Code, specified in the petition to be filed electronically in this case. I have read the
information provided in the petition, lists, statements, and schedules to be filed electronically in this case and I HEREBY
DECLARE UNDER PENALTY OF PERJURY that the information provided therein, as well as the social security information
disclosed in this document, is true and correct. I understand that this Declaration is to be filed with the Bankruptcy Court within
five (5) business days after the petition, lists, statements, and schedules have been filed electronically. I understand that a
failure to file the signed original of this Declaration will result in the dismissal of my case.

      [Only include for Chapter 7 individual petitioners whose debts are primarily consumer debts] --
      I am an individual whose debts are primarily consumer debts and who has chosen to file under chapter 7. I am aware that
      I may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief available under each
      chapter, and choose to proceed under chapter 7.


      [Only include if petitioner is a corporation, partnership or limited liability company] --
      I hereby further declare under penalty of perjury that I have been authorized to file the petition, lists, statements, and
      schedules on behalf of the debtor in this case.


Date: 6/28/2019                   /s/ Gabriel Marquez Boncales                                 /s/ Adoracion De Jesus Boncales
                                  Gabriel Marquez Boncales                                     Adoracion De Jesus Boncales
                                  Debtor                                                       Joint Debtor
                                  Soc. Sec. No. xxx-xx-0946                                    Soc. Sec. No. xxx-xx-4587

PART II: DECLARATION OF ATTORNEY:
I declare UNDER PENALTY OF PERJURY that: (1) I will give the debtor(s) a copy of all documents referenced by Part I herein
which are filed with the United States Bankruptcy Court; and (2) I have informed the debtor(s), if an individual with primarily
consumer debts, that he or she may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained
the relief available under each such chapter.

Date: 6/28/2019                                                     /s/ David S. Kohm
                                                                    David S. Kohm, Attorney for Debtor
                                                                    David S Kohm
                                                                    1414 W. Randol Mill Rd., Suite 118
                                                                    Arlington, TX 76012
                                                                    Email: michaelb@attorneykohm.com
                                                                    Phone: (817) 861-8400 / Fax: (817) 861-8900
